       Case: 23-30480    Document: 58    Page: 1   Date Filed: 10/12/2023

                                 No. 23-30480

           UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT

      TESLA, INCORPORATED; TESLA LEASE TRUST; TESLA FINANCE, L.L.C.,
                                            Plaintiffs-Appellants,
                                   v.

  LOUISIANA AUTOMOBILE DEALERS ASSOCIATION, In itself and on behalf of its
  members, executive committee, and board of directors; GREGORY LALA, In his
   official capacity as Chairman of the Louisiana Motor Vehicle Commission;

                    (CAPTION CONTINUED ON INSIDE COVER)


                 On Appeal from the United States District Court
            for the Eastern District of Louisiana, No. 2:22-cv-02982

                   BRIEF FOR PLAINTIFFS-APPELLANTS



MARK R. BEEBE (#19487)                      ARI HOLTZBLATT
DIANA COLE SURPRENANT (#33399)              ANDRES C. SALINAS
ADAMS AND REESE LLP                         ANDREW K. WAKS
701 Poydras Street, Suite 4500              WILMER CUTLER PICKERING
New Orleans, LA 70139                          HALE AND DORR LLP
                                            2100 Pennsylvania Avenue, NW
                                            Washington, DC 20037
                                            (202) 663-6000
                                            ari.holtzblatt@wilmerhale.com

                                            DAVID GRINGER
                                            TONY J. LEE
                                            WILMER CUTLER PICKERING
                                              HALE AND DORR LLP
                                            7 World Trade Center
                                            250 Greenwich Street
                                            New York, NY 10007

October 12, 2023
        Case: 23-30480    Document: 58     Page: 2   Date Filed: 10/12/2023




ALLEN O. KRAKE, In his Official capacity as a Commissioner of the Louisiana Motor
Vehicle Commission and his private capacity; V. PRICE LEBLANC, JR., In his Official
  capacity as a Commissioner of the Louisiana Motor Vehicle Commission and his
  private capacity; ERIC R. LANE, In his Official capacity as a Commissioner of the
   Louisiana Motor Vehicle Commission and his private capacity; KENNETH MIKE
 SMITH, In his Official capacity as a Commissioner of the Louisiana Motor Vehicle
 Commission and his private capacity; P.K. SMITH MOTORS, INCORPORATED; KEITH
 P. HIGHTOWER, In his Official capacity as a Commissioner of the Louisiana Motor
 Vehicle Commission and his private capacity; KEITH M. MARCOTTE, In his Official
 Capacity as a Commissioner of the Louisiana Motor Vehicle Commission and his
       private capacity; WESLEY RANDAL SCOGGIN, In his Official capacity as a
Commissioner of the Louisiana Motor Vehicle Commission and his private capacity;
 SCOTT A. COURVILLE, In his Official Capacity as a Commissioner of the Louisiana
    Motor Vehicle Commission; DONNA S. CORLEY, In her Official capacity as a
     Commissioner of the Louisiana Motor Vehicle Commission and her private
  capacity; TERRYL J. FONTENOT, In his Official capacity as a Commissioner of the
     Louisiana Motor Vehicle Commission and his private capacity; T & J FORD,
INCORPORATED; MAURICE C. GUIDRY, In his Official capacity as a Commissioner of
     the Louisiana Motor Vehicle Commission and his private capacity; GOLDEN
MOTORS, L.L.C.; RANEY J. REDMOND, In his Official capacity as a Commissioner of
 the Louisiana Motor Vehicle Commission; JOSEPH W. WESTBROOK, In his Official
  capacity as a Commissioner of the Louisiana Motor Vehicle Commission and his
  private capacity, also known as Bill Westbrook; STEPHEN GUIDRY, In his Official
  capacity as a Commissioner of the Louisiana Motor Vehicle Commission and his
        private capacity; JOYCE COLLIER LACOUR, In her Official capacity as a
       Commissioner of the Louisiana Motor Vehicle Commission; THOMAS E.
   BROMFIELD, In his Official capacity as a Commissioner of the Louisiana Motor
         Vehicle Commission; EDWIN T. MURRAY, In his Official capacity as a
Commissioner of the Louisiana Motor Vehicle Commission and his private capacity;
 FORD OF SLIDELL, L.L.C., doing business as Supreme Ford of Slidell; GERRY LANE
  ENTERPRISES, INCORPORATED, doing business as Gerry Lane Chevrolet; HOLMES
      MOTORS, L.L.C., doing business as Holmes Honda; AIRLINE CAR RENTAL,
  INCORPORATED, doing business as Avis Rent-A-Car; SHETLER-CORLEY MOTORS,
LIMITED; LEBLANC AUTOMOBILES. L.C., incorrectly named as Leblanc Automobiles,
   Inc.; MORGAN BUICK GMC SHREVEPORT, INCORPORATED, incorrectly named as
 Morgan Pontiac, Inc.; P.K. SMITH MOTORS, INCORPORATED, in his private capacity;
    COMMISSIONERS OF THE LOUISIANA MOTOR VEHICLE COMMISSION AND THEIR
                         DEALERSHIPS; STEPHEN L. GUIDRY, JR,
                                                     Defendants-Appellees.
        Case: 23-30480     Document: 58     Page: 3   Date Filed: 10/12/2023




                CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made so that

members of this Court may evaluate possible disqualification or recusal.

 Plaintiffs-Appellants                         Counsel
 Tesla, Incorporated                           Ari Holtzblatt
 Tesla Lease Trust                             David Gringer
 Tesla Finance, L.L.C.                         Andres C. Salinas
                                               Andrew K. Waks
                                               Tony J. Lee
                                               WILMER CUTLER PICKERING
                                                 HALE AND DORR LLP

                                               Mark R. Beebe
                                               Diana Cole Surprenant
                                               ADAMS AND REESE LLP


 Defendants-Appellees                          Counsel
 Louisiana Automobile Dealers Association      Paul D. Clement
                                               Matthew Rowen
                                               CLEMENT & MURPHY, P.L.L.C.

                                               Jeanne C. Comeaux
                                               Claude Favrot Renaud, Jr.
                                               BREAZEALE, SACHSE & WILSON,
                                               L.L.P.




                                        -i-
      Case: 23-30480    Document: 58       Page: 4   Date Filed: 10/12/2023




Commissioners of the Louisiana Motor           Timothy W. Hassinger
Vehicle Commission                             GALLOWAY, JOHNSON, TOMPKINS,
                                               BURR & SMITH
Gregory Lala                                   Lamont P. Domingue
(Chairman of the Louisiana Motor Vehicle       VOORHIES & LABBÉ, A.P.L.C.
Commission)
                                               Harry Joseph Philips, Jr.
                                               John Parham Murrill
                                               TAYLOR, PORTER, BROOKS &
                                               PHILLIPS, L.L.P.

Allen O. Krake                                 Chloe Marie Chetta
(In his private capacity and as                Richard E. Sarver
Commissioner of the Louisiana Motor            Robert A. Waldrup
Vehicle Commission)                            BARRASSO, USDIN, KUPPERMAN,
                                               FREEMAN & SARVER, L.L.C.

                                               Harry Joseph Philips, Jr.
                                               John Parham Murrill
                                               TAYLOR, PORTER, BROOKS &
                                               PHILLIPS, L.L.P.

V. Price Leblanc, Jr.                          Patrick Shaw McGoey
Keith P. Hightower                             Andrea V. Timpa
Keith M. Marcotte                              SCHONEKAS, EVANS, MCGOEY &
Wesley Randal Scoggin                          MCEACHIN, L.L.C.
Donna S. Corley
Terryl J. Fontenot                             Harry Joseph Philips, Jr.
Maurice C. Guidry                              John Parham Murrill
(In their private capacities and as            TAYLOR, PORTER, BROOKS &
Commissioners of the Louisiana Motor           PHILLIPS, L.L.P.
Vehicle Commission)




                                      - ii -
       Case: 23-30480     Document: 58       Page: 5   Date Filed: 10/12/2023




Scott A. Courville                              Harry Joseph Philips, Jr.
Raney J. Redmond                                John Parham Murrill
Joyce Collier LaCour                            TAYLOR, PORTER, BROOKS &
Thomas E. Bromfield                             PHILLIPS, L.L.P.
(Commissioners of the Louisiana Motor
Vehicle Commission)

Edwin T. Murray
Kenneth Mike Smith,
Joseph W. Westbrook
Stephen Guidry
(In their private capacities and as
Commissioners of the Louisiana Motor
Vehicle Commission)


P.K. Smith Motors, Incorporated                 William Raley Alford, III, Esq.
                                                Patrick M. Bollman
                                                STANLEY, REUTER, THORNTON &
                                                ALFORD, L.L.C.

T & J Ford, Incorporated                        Patrick Shaw McGoey
Golden Motors, L.L.C.                           Andrea V. Timpa
Holmes Motors, L.L.C. (doing business as        SCHONEKAS, EVANS, MCGOEY &
Holmes Honda)                                   MCEACHIN, L.L.C.
Airline Car Rental, Incorporated (doing
business as Avis Rent-A-Car)
Shetler-Corley Motors, Limited
Leblanc Automobiles. L.C.
Morgan Buick GMC Shreveport,
Incorporated


Ford of Slidell, L.L.C. (doing business as      Chloe Marie Chetta
Supreme Ford of Slidell)                        Richard E. Sarver
                                                Robert A. Waldrup
                                                BARRASSO, USDIN, KUPPERMAN,
                                                FREEMAN & SARVER, L.L.C.




                                      - iii -
       Case: 23-30480    Document: 58      Page: 6   Date Filed: 10/12/2023




Gerry Lane Enterprises, Incorporated          Colin D. Sherman
(doing business as Gerry Lane Chevrolet)      SHERMAN & LACEY

Stephen L. Guidry, Jr.                        Lamont P. Domingue
                                              VOORHIES & LABBÉ, A.P.L.C.




                                              /s/ Ari Holtzblatt
                                              ARI HOLTZBLATT

                                              Attorney of Record for Plaintiff-
                                              Appellants




                                    - iv -
        Case: 23-30480      Document: 58     Page: 7   Date Filed: 10/12/2023




              STATEMENT REGARDING ORAL ARGUMENT

      Appellants Tesla, Inc., Tesla Lease Trust, and Tesla Finance LLC

respectfully request oral argument. Oral argument is warranted because it would

assist the Court in resolving the major constitutional and antitrust questions

presented by this appeal. Indeed, without the benefit of oral argument, the district

court below made several fundamental errors that counsel could have addressed

with the benefit of argument. Furthermore, given the large number of appellees, it

may not be feasible for Tesla to comprehensively address every argument raised by

appellees on reply. Oral argument would enable the Court to fully assess the

parties’ positions as to the key issues on appeal.




                                         -v-
           Case: 23-30480             Document: 58            Page: 8        Date Filed: 10/12/2023




                                        TABLE OF CONTENTS

                                                                                                                 Page
CERTIFICATE OF INTERESTED PERSONS .........................................................i
STATEMENT REGARDING ORAL ARGUMENT ............................................... v
TABLE OF AUTHORITIES ................................................................................. viii
INTRODUCTION ..................................................................................................... 1
JURISDICTIONAL STATEMENT .......................................................................... 5
RELEVANT STATUTES AND CONSTITUTIONAL PROVISIONS ................... 5
ISSUES PRESENTED............................................................................................... 5
STATEMENT OF THE CASE .................................................................................. 6
         A.       Tesla’s Direct-To-Consumer Model ..................................................... 6
         B.       Tesla’s Operations In Louisiana ............................................................ 7
         C.       The Dealer Cartel’s Control Of The Commission ................................ 9
         D.       The Agreement To Exclude Tesla....................................................... 10
         E.       Procedural History............................................................................... 14
SUMMARY OF ARGUMENT ............................................................................... 15
STANDARD OF REVIEW ..................................................................................... 17
ARGUMENT ........................................................................................................... 17
I.       TESLA PLAUSIBLY ALLEGED AN ANTITRUST VIOLATION ............................... 17
         A.       Tesla Plausibly Alleged An Illegal Agreement ................................... 17
                  1.       Tesla Plausibly Alleged An Agreement That, At
                           Minimum, Encompassed The Commissioners ......................... 18
                  2.       Tesla Plausibly Alleged That The Non-
                           Commissioner Defendants Were Parties To
                           The Agreement .......................................................................... 23
                  3.       The District Court’s Ruling Rested On Several
                           Legal Errors............................................................................... 25


                                                        - vi -
           Case: 23-30480               Document: 58            Page: 9         Date Filed: 10/12/2023




         B.       Noerr-Pennington Does Not Apply .................................................... 29
II.      TESLA PLAUSIBLY ALLEGED A VIOLATION OF THE DUE PROCESS
         CLAUSE ........................................................................................................... 36
         A.       The Due Process Clause Does Not Permit One Segment
                  Of An Industry To Use Its Control Of A State Board To
                  Exclude Competitors ........................................................................... 36
         B.       The District Court Erred By Dismissing Tesla’s Claims
                  As Implausible ..................................................................................... 39
         C.       Cases Permitting Industrial Self-Regulation Are
                  Distinguishable .................................................................................... 43
                  1.        Chrysler Corporation v. Texas Motor Vehicle
                            Commission ............................................................................... 43
                  2.        Friedman v. Rogers ................................................................... 44
                  3.        Traditional Industry Self-Regulation ........................................ 45
III.     TESLA PLAUSIBLY ALLEGED A VIOLATION OF THE EQUAL
         PROTECTION CLAUSE ...................................................................................... 48
         A.       Banning Non-Franchising Manufacturers From Directly
                  Selling Or Performing Warranty Service Violates The
                  Equal Protection Clause Because It Serves No Purpose
                  But Protectionism ................................................................................ 48
         B.       The District Court Erred In Dismissing Tesla’s Equal
                  Protection Claim On The Pleadings .................................................... 54
                  1.        The Direct-Sales Ban ................................................................ 56
                  2.        The Warranty-Servicing Ban .................................................... 59
CONCLUSION ........................................................................................................ 61
CERTIFICATE OF COMPLIANCE
ADDENDUM
CERTIFICATE OF SERVICE




                                                          - vii -
           Case: 23-30480              Document: 58            Page: 10          Date Filed: 10/12/2023




                                       TABLE OF AUTHORITIES

                                                        CASES
                                                                                                                 Page(s)
Abraham & Veneklasen Joint Venture v. American Quarter Horse
     Association, 776 F.3d 321 (5th Cir. 2015) .................................................... 17

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       (1988) ...........................................................................................30, 32, 34, 35

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      Transportation, 2017 WL 9753918 (Ariz. Super. Ct. Mar. 3,
      2017) .............................................................................................................. 58

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      Transportation, 821 F.3d 19 (D.C. Cir. 2016) ....................................3, 36, 44

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      755 F.2d 1192 (5th Cir. 1985) .................................................................43, 44

City of Columbia v. Omni Outdoor Advertising, Inc., 499 U.S. 365
       (1991) ....................................................................................................... 33, 35

Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690
      (1962) .......................................................................... 3, 25, 26, 28, 30, 31, 35

Continental Ore Co. v. Union Carbide & Carbon Corp., 289 F.2d 86
      (9th Cir. 1961) ............................................................................................... 31

Craigmiles v. Giles, 312 F.3d 220 (6th Cir. 2002) .................................................. 49

Duke v. North Texas State University, 469 F.2d 829 (5th Cir. 1972)...................... 42

Ford Motor Co. v. Texas Department of Transportation, 264 F.3d 493
     (5th Cir. 2001) .....................................................................................4, 37, 53

                                                         - viii -
           Case: 23-30480              Document: 58             Page: 11         Date Filed: 10/12/2023




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Greater New York Automobile Dealers Association v. Department of
      Motor Vehicles, 969 N.Y.S.2d 721 (Sup. Ct. 2013) ...................................... 59

Groden v. City of Dallas, 826 F.3d 280 (5th Cir. 2016) .......................................... 17

Hardwick v. Wall, 419 U.S. 888 (1974)................................................................... 38

In re Flat Glass Antitrust Litigation, 385 F.3d 350 (3d Cir. 2004) ......................... 24

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       988 F. Supp. 2d 696 (E.D. La. 2013) ............................................................ 18

In re Text Messaging Antitrust Litigation, 630 F.3d 622 (7th Cir.
       2010) .............................................................................................................. 23

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      2004) ..........................................................................................................4, 53

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      June 21, 2023) ................................................................................................ 58

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    (5th Cir. 1988) .........................................................................................55, 56

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Massachusetts State Automobile Dealers Association v. Tesla Motors,
     M.A., Inc., 15 N.E.3d 1152 (Mass. 2014) ...................................................... 59

                                                           - ix -
           Case: 23-30480              Document: 58            Page: 12          Date Filed: 10/12/2023




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      (1986) ....................................................................................................... 30, 35

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      1976) .............................................................................................................. 42

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     Commission, 198 F.3d 1 (1st Cir. 1999) .................................................. 45, 46

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     419 F.3d 462 (6th Cir. 2005) ......................................................................... 25

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      574 U.S. 494 (2015).................................................................2, 21, 32, 33, 36

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      717 F.3d 359 (4th Cir. 2013) .............................................................19, 22, 28

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      (Del. 2023) ..................................................................................................... 58

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      496 F.3d 403 (5th Cir. 2007) ................................................................... 18, 24

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United States v. General Motors Corp., 384 U.S. 127 (1966) ......................1, 17, 27


                                                           -x-
           Case: 23-30480              Document: 58            Page: 13          Date Filed: 10/12/2023




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      Communications, Inc., 858 F.2d 1075 (5th Cir. 1988) .................................. 29

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      1974) .............................................................................................................. 38

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     648 F.3d 452 (6th Cir. 2011) ......................................................................... 29

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Withrow v. Larkin, 421 U.S. 35 (1975) ................................................................... 42

                                         STATUTES AND RULES

28 U.S.C.
      §1291 ............................................................................................................... 5
      §1331 ............................................................................................................... 5
      §1332 ............................................................................................................... 5
      §1337 ............................................................................................................... 5
      §1343 ............................................................................................................... 5

La. R.S.
      §32:1253 .......................................................................................................... 9
      §32:1261 ..............................................................................................8, 11, 52
      §32:1270 ........................................................................................................ 10

Fed. R. App. P. 4 ........................................................................................................ 5

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2017 La. Act 45 (S.B. No. 107) ................................................................................. 7

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      broken-finding-technician-fix-it-may-take-while-2023-09-06/ .................... 59

                                                          - xi -
          Case: 23-30480           Document: 58          Page: 14       Date Filed: 10/12/2023




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                                                    - xii -
        Case: 23-30480     Document: 58     Page: 15    Date Filed: 10/12/2023




                                 INTRODUCTION

      In an earlier case involving auto dealers who conspired to eliminate

competition from rivals to protect their profit margins, the Supreme Court held that

the conspiracy was “so inconsistent with the free-market principles embodied in

the Sherman Act,” that it could not be “saved” by other arguments. United States

v. General Motors Corp., 384 U.S. 127, 146 (1966). This is another such case.

Here, a group of should-be competing car dealers face a perceived existential threat

to their businesses: Tesla and other electric car makers do not sell, lease, or

provide warranty service to their vehicles through franchise dealers. By declining

to use commission-driven middlemen, Tesla eliminates dealer mark-ups, add-ons,

and other unnecessary fees—saving its customers hundreds (sometimes thousands)

of dollars per vehicle.

      The antitrust laws are clear about what businesses must do when faced with

innovative threats: compete on the merits. Dealers in Louisiana have taken a

different—and illegal—approach. They have agreed with one another to harass

Tesla with baseless investigations and drive it out of the state, while discouraging

other innovative competitors from entering in the first place. Making this

conspiracy especially pernicious is that these dealers have effectuated their illegal

agreement by wielding the role some of the conspirators maintain as

Commissioners on the Louisiana Motor Vehicle Commission. As the Supreme
         Case: 23-30480     Document: 58     Page: 16    Date Filed: 10/12/2023




Court has recognized, “prohibitions against” this kind of “anticompetitive self-

regulation by active market participants are an axiom of federal antitrust policy.”

North Carolina State Bd. of Dental Examiners v. FTC (Dental Examiners II), 574

U.S. 494, 505 (2015).

      To end this harassment campaign before being driven from the Louisiana

market, Tesla filed suit under the Sherman Act against the Commissioners in both

their official and individual capacities, as well as the trade association (the

Louisiana Automobile Dealers Association or “LADA”) that represents auto

dealers in the state. The complaint alleged an illegal antitrust conspiracy among a

“Dealer Cartel” composed of the dealers serving as Commissioners, the other

dealers who are members of LADA, and LADA itself. The object of that

conspiracy was and still is to limit competition from Tesla’s innovative business

model.

      In dismissing Tesla’s claim with prejudice, the district court misapplied the

law. As other circuits have held, a plaintiff plausibly alleges an unlawful

agreement under Section 1 of the Sherman Act where financially-interested market

participants (like the Louisiana dealers) vote to wield their control of a government

entity (like the Commission) to thwart competition. Thus, the Commissioners’

vote itself is direct evidence of an agreement. The district court held otherwise

only by improperly assuming the good faith of the conspirators because some of



                                          -2-
       Case: 23-30480      Document: 58     Page: 17     Date Filed: 10/12/2023




them had a governmental role, ignoring those conspirators’ status as market

participants who actively compete with Tesla. And the district court dismissed

communications among members of the Dealer Cartel as mere “one sided

complaints,” even though those two-way exchanges provided further direct

evidence of the conspiracy. In short, Tesla’s complaint alleged that the defendants

“acted together to use the [Commission] to inflict anticompetitive injury on [the

cartel’s] behalf.” SmileDirectClub, LLC v. Tippins, 31 F.4th 1110, 1118-1119 (9th

Cir. 2022). That suffices to establish a plausible antitrust conspiracy.

      The district court further held that Tesla’s antitrust claim against the private

defendants was barred by Noerr-Pennington, but that too was error. Noerr-

Pennington protects petitioning of financially-disinterested government actors. It

does not protect agreements among financially-interested market participants to

use their own governmental power to exclude a competitor. As the Supreme Court

has held, that is “private commercial activity” subject to antitrust scrutiny.

Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 707 (1962).

      Separately, the district court was wrong to dismiss Tesla’s due process and

equal protection claims. The Due Process Clause ordinarily prohibits “a self-

interested entity” from exercising “regulatory authority over its competitors.”

Association of Am. Railroads v. U.S. Department of Transp. (“Amtrak III”), 821

F.3d 19, 27 (D.C. Cir. 2016). Yet that is precisely what Tesla alleged the



                                         -3-
        Case: 23-30480     Document: 58      Page: 18    Date Filed: 10/12/2023




Commission has done here: wield its government authority to protect its members’

narrow economic interests against a disruptive competitor. The district court

dismissed that obvious danger largely by wrongly equating a competitor’s control

over the entry of its direct rivals to run-of-the-mill industrial self-regulation. And,

compounding its errors, the district court improperly demanded record evidence of

partiality at the pleading stage, while overlooking that Tesla had provided precisely

such evidence (even though it was not required).

      As for Tesla’s equal protection claim, this Circuit has rejected the idea “that

mere economic protection of a particular industry is a legitimate government

purpose.” St. Joseph Abbey v. Castille, 712 F.3d 215, 222 (5th Cir. 2013). But

that is the only possible purpose that could be served by Louisiana banning non-

franchising manufacturers from directly selling or providing non-fleet warranty

service. Indeed, economists and policy experts uniformly agree that such laws

serve only to restrict competition and hurt consumers. The district court rested its

contrary conclusion on Ford Motor Co. v. Texas Department of Transportation,

264 F.3d 493 (5th Cir. 2001), and International Truck & Engine Co. v. Bray, 372

F.3d 717 (5th Cir. 2004). But those cases involved franchising manufacturers, and

hinged on the danger that such manufacturers might abuse their unique relationship

with their own dealers. Tesla and other non-franchising-manufacturers, by

contrast, have no franchise dealers (in Louisiana or elsewhere) that they could



                                         -4-
       Case: 23-30480      Document: 58     Page: 19   Date Filed: 10/12/2023




possibly take advantage of. They therefore lack the sole feature that has ever—or

could ever—justify a protectionist law like Louisiana’s.

      The judgment should be reversed.

                       JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. §§1331-1332, 1337, and

1343. It dismissed the complaint with prejudice on June 26, 2023. ROA.2396.

Tesla filed a timely notice of appeal on July 14, 2023. ROA.2397; Fed. R. App. P.

4(a)(1)(A). This Court has jurisdiction under 28 U.S.C. §1291.

     RELEVANT STATUTES AND CONSTITUTIONAL PROVISIONS

      Relevant provisions are set forth in an addendum.

                               ISSUES PRESENTED

      1.     Whether the district court erred in dismissing Tesla’s Sherman Act

claim with prejudice for failure to state a claim.

      2.     Whether the district court erred in dismissing Tesla’s due process

claim with prejudice for failure to state a claim.

      3.     Whether the district court erred in dismissing Tesla’s equal protection

claim with prejudice for failure to state a claim.




                                         -5-
       Case: 23-30480     Document: 58     Page: 20    Date Filed: 10/12/2023




                         STATEMENT OF THE CASE

      A.    Tesla’s Direct-To-Consumer Model

      Tesla is an American manufacturer of all-electric vehicles. ROA.1604

(¶119). Tesla’s four models are among the best-selling electric vehicles in the

country, and its Model 3 and Model Y are among the best-selling vehicles, period.

ROA.1605-1606 (¶¶124-127).

      Tesla has achieved its disruptive success, in part, by providing sales, leasing,

and warranty repair services directly to consumers. ROA.1607 (¶¶130-132).

Unlike franchising manufacturers who use third-party dealers, Tesla sells and

leases cars itself, at uniform and transparent prices. ROA.1589 (¶3). Tesla’s

salespeople are primarily salaried and aim to educate consumers, rather than push

for same-day sales to receive commissions. ROA.1608 (¶137). And in providing

direct warranty service, Tesla primarily compensates employees by the hour,

eliminating dealerships’ incentive to upsell unnecessary “repairs.” ROA.1608

(¶137). Tesla’s direct-to-consumer model eliminates the add-ons, mark-ups, and

other unnecessary fees imposed by third-party dealers—passing savings to

consumers. ROA.1608 (¶136).

      For these same reasons, franchise dealers view Tesla as an existential

competitive threat to their businesses. ROA.1613, ROA.1616, ROA.1630 (¶¶169,

181-187, 248). If Tesla and other non-franchising manufacturers continue to



                                        -6-
       Case: 23-30480      Document: 58     Page: 21    Date Filed: 10/12/2023




expand, many consumers will choose those options instead of using franchise

dealers. ROA.1614 (¶172). That in turn could cause other manufacturers to

reevaluate their dealer-centric business models. ROA.1614 (¶172). Hyundai, in

fact, recently sent a letter to its dealerships noting that “our customers around the

country are voicing displeasure with certain [dealer] pricing practices which, if left

unchecked, will have a negative impact on the health of our brand.” ROA.1609

(¶141). And Ford’s CEO stated recently, “We’ve got to go to non-negotiated

price” and to “100 percent online,” because Ford’s current dealer-distribution

model adds around $2,000 in extra costs per car compared to Tesla. ROA.1614

(¶172). Dealers recognize this competitive pressure and the “threat to the[ir] cozy

profits.” ROA.1630 (¶248).

      B.     Tesla’s Operations In Louisiana

      Tesla’s efforts to serve Louisiana customers have been met with great

resistance. Much of that difficulty comes from the actions of the Dealer Cartel, but

part of it comes from the legislature, through its irrational enactment (at the Dealer

Cartel’s behest) of laws banning non-franchising manufacturers, like Tesla, from

selling vehicles directly and restricting their ability to perform warranty services.

Before 2017, Tesla would have been permitted to directly sell its vehicles in

Louisiana, because state law then only prohibited franchising manufacturers from

competing with their own franchise dealers. 2017 La. Act 45 (S.B. No. 107)



                                         -7-
        Case: 23-30480     Document: 58     Page: 22    Date Filed: 10/12/2023




(Amendment Notes to 2017 Amendments, La. R.S. §32:1261). In 2017, however,

the state legislature amended the law so that non-franchising manufacturers like

Tesla generally may not sell cars directly to consumers without using an in-state

dealer. La. R.S. § 32:1261(A)(1)(k)(i). Tesla consequently has not sought a

license to sell vehicles in Louisiana.

      Tesla does, however, through Tesla Lease Trust (TLT), hold a license

authorizing it to lease vehicles in Louisiana. ROA.1593 (¶27). Louisiana law also

authorizes Tesla to perform warranty repairs, though Tesla’s ability to do so is

threatened by the illegal agreement at issue. Although manufacturers are generally

prohibited from “authoriz[ing] a person to perform warranty repairs … who is not

a motor vehicle dealer,” La. R.S. §32:1261(A)(1)(t)(i), that prohibition is subject to

an exception that Tesla falls within: A manufacturer may authorize a “fleet owner”

to perform warranty repairs “if the manufacturer determines that the fleet owner

has the same basic level of requirements that are required of a franchise dealer.”

Id. §32:1261(A)(1)(t)(ii). “Fleet owner” is defined (in relevant part) as a “renting

or leasing company that rents, maintains, or leases vehicles to a third party.” Id.

§32:1261(A)(1)(t)(i). Tesla (operating through the three plaintiffs to this lawsuit)

meets the definition of “fleet owner” as a lessor of vehicles and thus currently

provides warranty services at a New Orleans service center. ROA.1615 (¶¶176,




                                         -8-
       Case: 23-30480     Document: 58     Page: 23    Date Filed: 10/12/2023




180). If, however, the fleet-owner provision were improperly construed to exclude

Tesla, Tesla would be barred from performing warranty services in Louisiana.

      By offering leasing and fleet-warranty services (though not selling), Tesla

has competed in Louisiana against the long-entrenched franchise dealers.

ROA.1610 (¶¶145-147); see ROA.1625 (¶241). Instead of responding to Tesla’s

entry by improving and innovating their business models—by competing with each

other and with Tesla in the free market—the Dealer Cartel’s members have

conspired to exclude Tesla from Louisiana and keep other innovative electric-

vehicle manufacturers from ever entering the market. ROA.1589 (¶¶5-6).

      C.     The Dealer Cartel’s Control Of The Commission

      The Dealer Cartel has pursued this conspiracy through its control of the

Louisiana Motor Vehicle Commission. ROA.1590-1591 (¶¶13-14). The

Commission regulates the distribution and sale of motor vehicles in Louisiana,

including the licensing of dealers, manufacturers, and distributors. La. R.S.

§32:1253.

      Of the eighteen members of the Commission, fifteen exercise the power at

issue here. See La. R.S. §32:1253(A)(3)(a).1 All fifteen of those Commissioners

must be appointed “licensee[s]” of the Commission and retain those licenses while


1
 The other three are consumers serving as “public member[s]” whose “sole
function” is “hearing and deciding matters” unrelated to this case. La. R.S.
§32:1253(A)(3)(a).


                                        -9-
        Case: 23-30480      Document: 58     Page: 24   Date Filed: 10/12/2023




they serve on the Commission. Id. § 32:1253(A)(2). Nine of the fifteen—a

controlling majority—are franchise automobile dealers who directly compete with

Tesla. ROA.1596-1601 (¶¶47, 57-94). The remaining six are involved in other

parts of the motor-vehicle industry (like “motorcycle” or “marine product” sales),

but they may still be franchise dealers, and they may affiliate as business partners

with franchise dealers who directly compete with Tesla. ROA.1601-1602 (¶¶95-

106); see La. R.S. §32:1270(E). Thus, the Commission’s votes are controlled by

active market participants who not only compete with Tesla, but who perceive

Tesla as an existential threat to their businesses.

      The nine automobile-dealer Commissioners are all members of the

Louisiana Automobile Dealers Association (LADA). ROA.1594 (¶¶36-37).

LADA is a trade association that “represent[s] nearly 350 new motor vehicle car

and heavy truck dealers” in the state. ROA.1593 (¶30). A revolving door exists

between LADA leadership and the Commission that LADA has used to facilitate

the challenged illegal agreement. ROA.1594 (¶¶36-38).

      D.     The Agreement To Exclude Tesla

      The Dealer Cartel’s members have, working with and through LADA and

the Commission, sought to drive Tesla from the state. ROA.1594 (¶¶33-34);

ROA.109. Defendant-Commissioner Allen Krake acknowledged that over “five




                                         - 10 -
       Case: 23-30480      Document: 58     Page: 25    Date Filed: 10/12/2023




years,” LADA “met numerous times” with the Commission to discuss excluding

Tesla from the market. ROA.1594 (¶38); ROA.98.

      The result of those “numerous” meetings was an agreement to wield the

Commission’s power to target Tesla with a baseless investigation aimed at

increasing Tesla’s business costs, creating a cloud over the legality of its existing

operations in Louisiana, and harassing and intimidating it out of Louisiana.

ROA.1630 (¶¶247-248). This campaign targeted Tesla’s warranty servicing

operations as a fleet owner, even though “[t]he commission has no authority over a

fleet owner.” La. R.S. §32:1261(A)(1)(t)(v). The Dealer Cartel knows that the

ability to provide warranty servicing is fundamental to effective competition in this

market. ROA.1628 (¶242(b)-(c)). Consumers need assurances that warranty

service work will be available when they need it, and they are unwilling to travel

long distances to obtain it. ROA.1628 (¶242(b)-(c)). Thus, if Tesla were unable to

offer warranty servicing in Louisiana, it would impair its ability to compete.

ROA.1632 (¶253). In fact, simply clouding Tesla’s warranty service operations

with legal uncertainty discourages consumers from leasing Tesla cars, out of

concern about the ability to access warranty services during their leases.

ROA.1632 (¶253).

      The Dealer Cartel agreed to target Tesla’s warranty service operations at

least as early as when Tesla announced plans to open a New Orleans service



                                        - 11 -
       Case: 23-30480     Document: 58     Page: 26   Date Filed: 10/12/2023




center. On July 17, 2018, upon learning of those plans, Paul Stodred, a member of

the Dealer Cartel from Louisiana’s largest dealer group, emailed Defendant-

Commissioner Joseph Westbrook, stating that “this is not good for the future of our

business if the state lets this happen.” ROA.1616 (¶186). When Commissioner

Westbrook forwarded Mr. Stodred’s email to Lessie House, the Commission’s

Executive Director, with the clear implication that she needed to act, Ms. House

responded: “On top of it.” ROA.1616 (¶187). The same day, Mat Baer of Bohn

Brothers Investments, another Dealer Cartel member, also brought the New

Orleans service center to Ms. House’s attention, to which House responded: “We

are on top of this.” ROA.1616 (¶¶184-185).2

      The Commission initiated its “investigation” of Tesla—the result of this

illegal agreement—on August 5, 2020, when it agreed to issue a subpoena to TLT

for records relating to its activities in Louisiana. ROA.1619-1620 (¶¶204-205).

Unaware of the illegal conspiracy, and given the subpoena’s narrow scope, TLT

responded. ROA.1620 (¶205). A month later, the Commission agreed to issue a

second subpoena, seeking records back to October 2013. ROA.1620 (¶205). In

February 2021, the Commission replaced the second subpoena with a third




2
  These communications were obtained as part of a (clearly incomplete) response
to Tesla-submitted public records requests. ROA.1621 (¶¶212-216)). Tesla
anticipates that discovery will reveal additional, similar communications.


                                       - 12 -
       Case: 23-30480      Document: 58     Page: 27   Date Filed: 10/12/2023




subpoena demanding records identifying vehicles leased in Louisiana and

“identifying and/or referencing warranty service and/or warranty repair performed

on any and all motor vehicles” in Louisiana from June 2019 to present. ROA.119.

Tesla objected to the subpoena as exceeding the Commission’s jurisdiction

because, again, the Commission “has no authority” over fleet owners. ROA.1620-

1621 (¶¶207, 209-210).

      The Commission then initiated motion-to-compel proceedings before itself.

During those proceedings, the Commissioners agreed to reject multiple requests by

Tesla to continue the hearing, and agreed to reject Tesla’s request for a decision on

whether TLT is a fleet owner—even though that question determines jurisdiction.

ROA.1622-1623 (¶¶218-227). Instead, the Commissioners agreed that Tesla must

respond to the subpoena. ROA.1623 (¶222). Tesla sought rehearing on multiple

grounds, but the Commissioners agreed to reject those arguments. ROA.1623

(¶¶225-226). At least nine of the Commissioners who voted on (and thereby

agreed to) these decisions were Tesla’s direct competitors and members of the

Dealer Cartel. ROA.1623-1624 (¶¶227-230). Each vote was the byproduct of an

illegal agreement. ROA.1623 (¶224); ROA.1630 (¶247).

      Tesla subsequently petitioned for judicial review in state court seeking

reversal of the Commission’s decision to enforce the subpoena or a remand to

determine jurisdiction. ROA.1624 (¶232). Those proceedings are ongoing.



                                        - 13 -
       Case: 23-30480      Document: 58      Page: 28    Date Filed: 10/12/2023




      E.     Procedural History

      Tesla filed this lawsuit on August 26, 2022 against all eighteen

Commissioners in their official capacities; the fifteen non-consumer, licensee

Commissioners in their individual capacities; those fifteen Commissioners’

affiliated dealerships; and LADA. ROA.38; ROA.1593-1603 (¶¶30-109). The

operative first amended complaint (ROA.1588-1660) asserts (among other claims):

(1) a claim under Section 1 of the Sherman Act related to the illegal agreement to

exclude Tesla; (2) a claim that the Commission’s adjudicatory authority over Tesla

violates the Due Process Clause; and (3) a claim that Louisiana’s laws banning

non-franchising manufacturers from direct-sales and non-fleet warranty-servicing

violate the Equal Protection Clause.

      The district court dismissed Tesla’s complaint with prejudice. ROA.2396.

As to the Sherman Act claim, the district court held that the private defendants

(including the Commissioners in their individual capacities) were shielded by the

Noerr-Pennington doctrine. ROA.2333-2334. The court dismissed the claim

against the official-capacity Commissioners on the basis that Tesla’s allegations

did not adequately allege a conspiracy. ROA.2353-2356. With respect to the due

process claim, the court held that Tesla failed to plausibly allege that the

Commissioners had an economic stake in regulating Tesla’s leasing and servicing

activities sufficient to establish a constitutional violation. ROA.2375. And with



                                         - 14 -
       Case: 23-30480      Document: 58     Page: 29    Date Filed: 10/12/2023




respect to the equal protection claim, the district court upheld both the direct-sales

and warranty-servicing bans, finding that they could conceivably be understood as

protecting consumers and preventing monopolies by manufacturers. ROA.2384.

                          SUMMARY OF ARGUMENT

      I.     The district court erred in dismissing Tesla’s Sherman Act claim. The

court misunderstood Tesla’s allegations as involving an illegal agreement merely

between the Commissioners on the one hand and LADA on the other, when in fact,

Tesla alleged an agreement among all dealers (i.e., among the entire Dealer

Cartel), including the dealer-Commissioners. That conspiracy is supported by

direct evidence in the form of the Commissioners’ votes against Tesla and by

“smoking-gun” exchanges between cartel members that discuss the conspiracy

(which the district court inaccurately characterized as one-sided complaints). The

conspiracy was also supported by circumstantial evidence because the members of

the Dealer Cartel (including the dealer-Commissioners) are all financially-

interested market participants with a clear motive to exclude Tesla and the

opportunity to conspire through LADA and Commission meetings. Nothing more

is needed.

      The district court committed several additional errors. It required Tesla to

prove an “intention ‘to achieve an unlawful objective,’” ROA.2356, even though

evidence of an agreement and anticompetitive effect suffices. And it assumed that



                                        - 15 -
          Case: 23-30480      Document: 58     Page: 30    Date Filed: 10/12/2023




the Commissioners had a good-faith law-enforcement purpose, which is both

legally irrelevant and implausible given that the majority of Commissioners are

franchise dealers who compete with and have strong financial incentives to exclude

Tesla.

         Further, the district court incorrectly held that the private defendants

(including the Commissioners in their individual capacities) were shielded by

Noerr-Pennington. Noerr-Pennington does not protect agreements among

financially-interested market participants to use their own governmental power to

exclude a competitor.

         II.    The district court erred in dismissing Tesla’s due process claim. By

wielding its government authority to protect its members’ narrow economic

interests against a disruptive competitor, the Commission’s actions violate the Due

Process Clause. In holding otherwise, the district court incorrectly equated the

Commissioners’ direct and substantial bias against Tesla with run-of-the-mill

forms of industrial self-regulation lacking any similar bias, and incorrectly

demanded evidence of actual partiality at the pleading stage—while overlooking

Tesla’s allegations of such partiality.

         III.   Finally, the district court erred in dismissing Tesla’s equal protection

claim. The only conceivable purpose for Louisiana to ban non-franchising

manufacturers from direct-sales and non-fleet warranty-servicing is economic



                                           - 16 -
        Case: 23-30480     Document: 58     Page: 31    Date Filed: 10/12/2023




protection of franchise dealerships. This Court has held that such industry

protectionism is not a legitimate purpose for rational-basis review. The district

court relied on cases involving laws protecting franchise dealerships from potential

abuses by their own franchising manufacturers. But the rationales supporting such

laws cannot justify banning non-franchising manufacturers like Tesla who have no

franchises at risk of abuse.

                               STANDARD OF REVIEW

      A district court’s order granting a motion to dismiss for failure to state a

claim is reviewed de novo. Jeanty v. Big Bubba’s Bail Bonds, 72 F.4th 116, 119

(5th Cir. 2023). This Court accepts all well-pleaded factual allegations as true and

views them in the light most favorable to the plaintiff. Groden v. City of Dallas,

826 F.3d 280, 283 (5th Cir. 2016).

                                   ARGUMENT

I.    TESLA PLAUSIBLY ALLEGED AN ANTITRUST VIOLATION

      A.     Tesla Plausibly Alleged An Illegal Agreement

      Section 1 of the Sherman Act prohibits conspiracies that threaten to exclude

competitors from a relevant market. See United States v. General Motors Corp.,

384 U.S. 127, 148 (1966). To establish a Section 1 violation, “plaintiffs must show

that the defendants (1) engaged in a conspiracy (2) that produced some anti-




                                        - 17 -
       Case: 23-30480     Document: 58        Page: 32   Date Filed: 10/12/2023




competitive effect (3) in the relevant market.” Abraham & Veneklasen Joint

Venture v. American Quarter Horse Ass’n, 776 F.3d 321, 327 (5th Cir. 2015).

      The district court concluded that Tesla failed to plausibly plead the first

element, but the court mistakenly analyzed Tesla’s allegations as involving an

agreement between the Commissioners on the one hand and LADA on the other.

ROA.2356. In fact, Tesla alleged an agreement among the entire Dealer Cartel,

including the dealer-Commissioners. The complaint included more than enough

facts to plausibly allege such an agreement: The consistent votes against Tesla are

alone enough to establish a plausible agreement among at least the Commissioners,

and the other cartel members’ communications about excluding Tesla establish that

they were parties to the agreement as well.

             1.    Tesla Plausibly Alleged An Agreement That, At Minimum,
                   Encompassed The Commissioners

      To allege a conspiracy at the pleading stage, antitrust plaintiffs need only

provide “enough fact to raise a reasonable expectation that discovery will reveal

evidence of illegal agreement.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

(2007). Plaintiffs may do so by pleading “either direct or circumstantial evidence.”

Tunica Web Advert. v. Tunica Casino Ass’n, 496 F.3d 403, 409 (5th Cir. 2007).

Circumstantial evidence may include, among other things, “a motive to conspire,”

“an opportunity to conspire,” or “market concentration and structure conducive to

collusion.” In re Pool Prods. Distrib. Mkt. Antitrust Litig., 988 F. Supp. 2d 696,


                                        - 18 -
       Case: 23-30480      Document: 58     Page: 33   Date Filed: 10/12/2023




711 (E.D. La. 2013); see also SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d

412, 431-432 (4th Cir. 2015).

      A plaintiff plausibly alleges an unlawful agreement where financially-

interested market participants vote to use their control of a government body to

weaken or harass a competitor. Such a vote is direct evidence of an illegal

agreement, and no further evidence is required at the pleading stage. In

SmileDirectClub, LLC v. Tippins, 31 F.4th 1110 (9th Cir. 2022), for example, the

Ninth Circuit reversed the dismissal of an antitrust claim under which “the Dental

Board of California—largely made up of traditional dentists and orthodontists who

have a financial motive to view … newcomers as competition—allegedly

conspired to harass” direct-to-consumer teeth aligners “with unfounded

investigations and an intimidation campaign.” Id. at 1115. The dentist board

members’ “governance role [was] sufficient, when coupled with the congruence

between the Board’s actions and their own self-interest, to allow a plausible

inference of active participation” in an anticompetitive conspiracy. Id. at 1119.

Similarly, in North Carolina State Board of Dental Examiners v. FTC (Dental

Examiners I), 717 F.3d 359 (4th Cir. 2013), the Fourth Circuit found direct

evidence of a conspiracy (on a full evidentiary record) when a regulatory board

controlled by financially-interested, practicing dentists “‘discussed teeth whitening




                                        - 19 -
       Case: 23-30480      Document: 58     Page: 34   Date Filed: 10/12/2023




services provided by non-dentists and then voted to take action to restrict those

services.’” Id. at 373.

      The rule applied in SmileDirectClub and Dental Examiners—that an anti-

competitive vote alone evidences an agreement—aligns with similar, longstanding

precedent involving trade associations. The Supreme Court and lower appellate

courts have repeatedly held that the adoption of an anticompetitive policy by a

trade association constitutes legally sufficient direct evidence of an agreement.

E.g., FTC v. Indiana Fed’n of Dentists, 476 U.S. 447, 459 (1986) (federation

policy constituted “horizontal agreement among the participating dentists”);

Associated Press v. United States, 326 U.S. 1, 8-12 (1945) (association’s adopted

“By-Laws in and of themselves were contracts in restraint of commerce”); Osborn

v. Visa Inc., 797 F.3d 1057, 1066-1067 (D.C. Cir. 2015) (allegations that

defendants “fixed an element of access fee pricing through bankcard association

rules” sufficient to plead agreement). In these cases, the “very passage” of the

association’s anti-competitive rules “establishes that the defendants convened and

came to an agreement.” Robertson v. Sea Pines Real Estate Cos., 679 F.3d 278,

289 (4th Cir. 2012).

      The law is no different when private market participants wield governmental

authority to adopt an anticompetitive policy. As the Supreme Court has explained,

“[i]n important regards, agencies controlled by market participants are more



                                        - 20 -
       Case: 23-30480      Document: 58     Page: 35    Date Filed: 10/12/2023




similar to private trade associations” than “prototypical state agencies,” and the

“similarities … are not eliminated simply because [they] are given a formal

designation by the State, vested with a measure of government power.” Dental

Examiners II, 574 U.S. 494, 511 (2015).

      As in SmileDirectClub and Dental Examiners, the Commissioners’

consistent votes against Tesla in this case are direct evidence of an illegal

agreement. ROA.1623-1624 (¶¶224, 227-230). Like the dental boards, the

Commission is controlled by financially-interested market participants who voted

to wield their governmental power to harass a competitor with the ultimate goal of

exclusion. ROA.1594-1596 (¶¶36, 47). The Commissioners agreed to issue three

subpoenas to Tesla requesting large swaths of information as part of an unfounded

and harassing investigation. See ROA.1615, ROA.1619-1620 (¶¶175, 204-208).

And when Tesla objected to one of those subpoenas, the Commissioners agreed to

(1) deny Tesla a continuance for lack of jurisdiction, (2) uphold the Commission’s

subpoena authority, and (3) enforce Tesla’s compliance. ROA.1623-1624 (¶¶224-

230). Those votes are, contrary to the district court’s conclusion, critical

“allegations related to the conduct of … individual commissioners.” ROA.2336.

      The Commissioners’ financial interest in excluding Tesla supplies an

obvious motive to conspire—again like the financial interest of the government

actors in SmileDirectClub and Dental Examiners. As the complaint explained, the



                                        - 21 -
       Case: 23-30480     Document: 58     Page: 36   Date Filed: 10/12/2023




controlling majority of Commissioners perceive Tesla as an existential threat.

ROA.1594-1596 (¶¶34, 36, 47). Tesla’s innovative direct-to-consumer model

eliminates the add-ons, mark-ups, and upsells “that make the franchise-dealer

model profitable for dealers.” ROA.1607-1610 (¶¶135-143). Given those

consumer benefits, “[i]f Tesla and future entrants continue to compete in

Louisiana, … consumers will … choose Tesla vehicles” and other direct-to-

consumer options, which in turn “will cause other vehicle manufacturers to

reevaluate their dealer-centric business models.” ROA.1614 (¶172). The

Commissioners therefore have a strong financial interest in protecting their

entrenched business model by excluding Tesla. ROA.1594-1596 (¶¶34, 36, 47).

The “congruence” between the Commissioners’ actions against Tesla “and their

own self-interest” further establishes a plausible conspiracy. SmileDirectClub, 31

F.4th at 1119; see Dental Examiners I, 717 F.3d at 373.

      No further allegations are necessary to support a plausible agreement among

the Commissioners. By instead construing SmileDirectClub to require additional

evidence of “false statements” or “misconduct” (ROA.2356), the district court

committed reversible error.




                                       - 22 -
       Case: 23-30480      Document: 58     Page: 37   Date Filed: 10/12/2023




             2.    Tesla Plausibly Alleged That The Non-Commissioner
                   Defendants Were Parties To The Agreement

      Tesla also plausibly alleged that the illegal agreement extended to the non-

Commissioner members of the Dealer Cartel—that is, to the private dealership

defendants, all other members of LADA, and LADA itself.

      As just explained (pp.19-22), the dealer-Commissioners’ consistent votes

against Tesla constitute direct evidence of an illegal agreement. And additional

direct evidence tying the non-Commissioner cartel members to the agreement is

found in their communications about excluding Tesla. One of the dealer-

Commissioners acknowledged that the broader Dealer Cartel (including the

Commissioners) “met numerous times” over a five-year period to discuss the

conspiracy and the competitive threat posed by Tesla. ROA.1594-1595 (¶38); see

In re Text Messaging Antitrust Litig., 630 F.3d 622, 628 (7th Cir. 2010) (plausible

conspiracy evidenced by allegations that defendants “exchanged … information

directly at association meetings”). That admission alone refutes the district court’s

determination that the Commissioners’ relationship with LADA amounted to

“mere membership.” ROA.2350.

      Additional communications uncovered in the (facially incomplete) response

Tesla received to its public records request showed that multiple members of the

Dealer Cartel emailed Commissioners about how Tesla’s entry was “not good for

… our business.” ROA.1616 (¶¶181-187). The district court characterized these


                                        - 23 -
       Case: 23-30480      Document: 58     Page: 38    Date Filed: 10/12/2023




communications as “one-sided complaints,” ROA.2350-2351, but that is wrong

because the Commission’s Executive Director’s consistent response was, “We are

on top of this.” ROA.1616 (¶¶184-185). These “‘exchanged assurances of

common action’” are recognized evidence of an illegal agreement. In re Flat

Glass Antitrust Litig., 385 F.3d 350, 361 (3d Cir. 2004).

      This Court has confirmed, in fact, that such statements constitute “direct

evidence” of a conspiracy. Tunica, 496 F.3d at 410. In Tunica, this Court reversed

summary judgment to defendants, concluding that the district court had overlooked

evidence that one defendant’s employee had informed the plaintiffs of a

“‘gentlemen’s agreement’ to not do business with” them. Id. at 407-408. Those

statements alone “create[d] a fact issue about whether the [defendants] engaged in

concerted action.” Id. at 410. Here, Tesla’s evidence is at least as strong as in

Tunica because it depicts communications between the co-conspirators about the

alleged conspiracy. If such evidence suffices to avoid summary judgment, it

necessarily “raise[s] a reasonable expectation that discovery will reveal” further

“evidence of illegal agreement.” Twombly, 550 U.S. at 556.

      Tesla also plausibly alleged facts demonstrating the Dealer Cartel’s shared

motive and opportunity to conspire. With respect to motive, the private and

official-capacity defendants alike have strong financial incentives to exclude Tesla

and other direct-to-consumer manufacturers because they are perceived as an



                                        - 24 -
        Case: 23-30480      Document: 58     Page: 39    Date Filed: 10/12/2023




existential threat to the franchise-dealership model. ROA.1607-1610 (¶¶135-143);

see Starr v. Sony BMG Music Enter., 592 F.3d 314, 324 (2d Cir. 2010) (fear of lost

profits provided plausible motive to conspire). As for opportunity, Tesla provided

extensive allegations about the private defendants’ intermingled relationship with

the Commissioners, facilitated by LADA. E.g., NHL Players Ass’n v. Plymouth

Whalers Hockey Club, 419 F.3d 462, 476 (6th Cir. 2005) (opportunity to exchange

information supports inference of agreement). Indeed, all nine dealer-

Commissioners are members of LADA, and some have served on LADA’s board.

ROA.1597-1601 (¶¶60-61, 65, 69, 73, 77, 81, 85, 89, 93). And those nine dealer-

Commissioners control the Commission’s agenda. ROA.1594-1596 (¶¶36, 47).

Taking all this direct and circumstantial evidence together, Tesla alleged a

plausible conspiracy among the entire Dealer Cartel.

             3.     The District Court’s Ruling Rested On Several Legal
                    Errors

      The district court committed multiple legal errors in finding Tesla’s

allegations insufficient.

      First, the district court improperly assessed each category of evidence in

isolation—addressing and dismissing, one by one, the Commissioners’

investigation, LADA’s role, and the cartel’s communications. ROA.2350-2355.

This enabled the court to assume the Commissioners’ good faith, despite all

plausible evidence to the contrary. But antitrust plaintiffs are entitled to the “full


                                         - 25 -
       Case: 23-30480      Document: 58     Page: 40   Date Filed: 10/12/2023




benefit of their proof without tightly compartmentalizing the various factual

components and wiping the slate clean after scrutiny of each.” Continental Ore

Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962). “[T]he

character and effect of a conspiracy are not to be judged by dismembering it and

viewing its separate parts, but only by looking at it as a whole.” Id. Viewing the

allegations “as a whole,” Tesla plausibly alleged an agreement.

       Second, the district court erred in requiring Tesla to “demonstrate an

intention … to engage in a conspiracy for the purpose of unreasonably restraining

trade.” ROA.2355-2356 (cleaned up) (emphasis added). The district court relied

on Marucci Sports, L.L.C. v. NCAA, 751 F.3d 368 (5th Cir. 2014), but Marucci

never held that antitrust plaintiffs must plead an “intention to ‘achieve an unlawful

objective.’” Contra ROA.2356. Rather, Marucci held that plaintiffs must

“independent[ly] allege … actual agreement,” 751 F.3d at 375, as opposed to mere

“parallel conduct,” Twombly, 550 U.S. at 564. When (as here, supra pp.19-25)

such an agreement has been alleged, an antitrust violation can then “be established

by proof of either an unlawful purpose or an anticompetitive effect.” United States

v. U.S. Gypsum Co., 438 U.S. 422, 436 n.13 (1978) (emphasis added).

      Here, Tesla’s allegations were more than adequate to plead anticompetitive

effect: As explained (supra p.11), if Tesla and other direct-to-consumer

manufacturers cannot offer warranty servicing in Louisiana free from unwarranted



                                        - 26 -
       Case: 23-30480      Document: 58    Page: 41    Date Filed: 10/12/2023




legal scrutiny, their ability to compete will be impaired because consumers require

assurances that warranty services will be readily (and locally) available before they

buy or lease a new vehicle. ROA.1632 (¶253).

      And even if Tesla were required to plead an intent to achieve an unlawful

purpose, it did so. The complaint alleged that the conspiracy’s “purpose [is] to

restrain trade by eliminating Tesla from the relevant market and discouraging new

entry.” ROA.1629 (¶244). That purpose is certainly plausible given the extensive

allegations (supra pp.21-25) about the cartel’s economic self-interest to safeguard

its imperiled business model. This reflects paradigmatic anticompetitive intent.

General Motors, 384 U.S. at 145-148.

      Third, the district court improperly demanded allegations foreclosing the

possibility that the Commissioners had acted lawfully. For example, the court

expressed its belief that the Commissioners’ investigation was “consistent with the

Commission’s … interpretation” of the fleet-owner provision because it sought “to

ascertain whether Tesla’s warranty work was provided only on vehicles in its own

fleet.” ROA.2354.

      That is irrelevant. As SmileDirectClub explained, requiring allegations

inconsistent with regulatory purpose “effectively grant[s] [defendants] antitrust

immunity without holding them to the strictures of the state-action immunity

doctrine.” 31 F.4th at 1117. No such requirement exists because a regulatory



                                       - 27 -
       Case: 23-30480      Document: 58     Page: 42    Date Filed: 10/12/2023




board’s “concerted action can be unreasonable under the Sherman Act—even if [it]

seek[s] to achieve [its] anticompetitive aims through the exercise of valid

regulatory authority.” Id. at 1120. It is “well settled that acts which are in

themselves legal lose that character when they become constituent elements of an

unlawful scheme.” Continental Ore, 370 U.S. at 707. Thus, even if the

Commissioners’ conduct were authorized under Louisiana law, they would violate

the Sherman Act if they agreed to exercise their regulatory discretion with the

objective or effect of excluding Tesla (both of which the complaint plausibly

alleged). See SmileDirectClub, 31 F.4th at 1118-1120.

      In any event, Tesla alleged that bona fide enforcement of the fleet-owner

provision was not the Commissioners’ only plausible objective, by alleging that the

Commissioners’ investigation was pretextual cover for an anticompetitive

agreement. ROA.1620 (¶205). The district court therefore missed the point in

focusing heavily on its belief that the Commission adopted a reading of the fleet-

owner provision “more favorable to Tesla than the interpretation advanced by

LADA,” ROA.2354. Tesla alleged that difference in the parties’ publicly-claimed

positions is illusory, because the Commissioners’ stated position is a sham

designed to “credibly … remove Tesla.” ROA.1620 (¶¶205, 208). Given the

Commissioners’ status as active market participants and their obvious interest in

excluding direct-to-consumer competitors, that allegation was certainly plausible.



                                        - 28 -
         Case: 23-30480     Document: 58     Page: 43   Date Filed: 10/12/2023




See SmileDirectClub, 31 F.4th at 1118-1119; Dental Examiners I, 717 F.3d at 373.

To the extent genuine law enforcement is a plausible additional or alternative

explanation for the Commissioners’ concerted action, “[f]erreting out the most

likely reason for the defendants’ actions is not appropriate at the pleadings stage.”

Watson Carpet & Floor Covering, Inc. v. Mohawk Industries, Inc., 648 F.3d 452,

458 (6th Cir. 2011). By requiring Tesla to disprove the possibility of lawful

purpose and independent conduct, the district court “applied a standard more

appropriate at the summary judgment stage.” SmileDirectClub, 31 F.4th at 1118,

1121.

        B.    Noerr-Pennington Does Not Apply

        The district court held that Tesla’s antitrust claim against LADA, the

dealership defendants, and the Commissioners in their individual capacities was

barred by the Noerr-Pennington doctrine, which the court understood as protecting

those defendants’ efforts to “encourage the government” (i.e., the Commission) “to

investigate their competitors.”3 ROA.2333-2341. Noerr-Pennington does not

apply, however, when, as here, the government body is controlled by active market

participants with a financial stake in the anticompetitive restraint. In those



3
 The official-capacity defendants never argued below that they were protected by
Noerr-Pennington. Any such defense would have failed anyway, because “it is
impossible” for the Commission “to petition itself.” Video Int’l Prod., Inc. v.
Warner-Amex Cable Commc’ns, Inc., 858 F.2d 1075, 1086 (5th Cir. 1988).


                                         - 29 -
       Case: 23-30480     Document: 58     Page: 44   Date Filed: 10/12/2023




circumstances, because “private individuals generated the restraint,” Matter of

Superior Ct. Trial Lawyers Ass’n, 107 F.T.C. 510, 583 (1986), “the

decisionmaking process …, while nominally public, is actually private within the

meaning of the antitrust doctrine,” Elhauge, Making Sense of Antitrust Petitioning

Immunity, 80 Calif. L. Rev. 1177, 1200 (1992). As a result, “no immunity

applies.” Id. at 1201.

      This is precisely what Tesla alleged here. The complaint alleged that the

Commission is controlled by active dealers who share their co-conspirators’

financial interest in excluding a competitor. The complaint alleged, moreover, that

all dealers in the cartel (both those currently serving on the Commission and those

who are not) agreed to exclude Tesla by exercising the governmental power

already under their shared control. Indeed, because the conspiracy already

controlled the requisite governmental power, there was no need to petition. In

those circumstances, the Supreme Court has on multiple occasions confirmed that

Noerr-Pennington does not apply. See Continental Ore, 370 U.S. 690; United

Mine Workers v. Pennington, 381 U.S. 657, 671 (1965); Allied Tube & Conduit

Corp. v. Indian Head, Inc., 486 U.S. 492 (1988).

      1.     First, in Continental Ore, the Supreme Court held that antitrust claims

could be brought against a vanadium producer that excluded competitors through

use of a corporate subsidiary that had been appointed an agent of the Canadian



                                       - 30 -
       Case: 23-30480     Document: 58     Page: 45    Date Filed: 10/12/2023




government and given “discretionary agency power to purchase and allocate to

Canadian industries all vanadium products.” 370 U.S. at 702-704 & n.11. The

Ninth Circuit below had, citing Noerr, ruled that the producer’s efforts “to

persuade and influence the Canadian Government through its agent” were not

“within the purview of the Sherman Act.” 289 F.2d 86, 94 (9th Cir. 1961). The

Supreme Court reversed, finding Noerr “plainly inapposite.” 370 U.S. at 707.

Although the subsidiary had—like the dealers here—been conferred discretionary

governmental authority, it had allegedly exercised that authority “under the control

and direction” of its parent company, with the purpose of excluding competitors.

Id. at 703, 706. On that basis, the Court concluded that the defendants were

engaged in “private commercial activity” unprotected by Noerr. Id. at 707.

Subjecting the defendants “to liability under the Sherman Act for eliminating a

competitor from the Canadian market by exercise of the discretionary power

conferred upon [the defendant subsidiary] by the Canadian Government would

effectuate the purposes of the Sherman Act and would not remotely infringe upon

any of the constitutionally protected freedoms spoken of in Noerr.” Id. at 707-708.

      Three years later, in Pennington, the Court reinforced that holding. As in

Continental Ore, the Pennington defendants sought to exclude competitors by

influencing a governmental purchasing decision (this time, the purchase of coal).

The difference, though, was that the government-appointed purchaser in



                                       - 31 -
       Case: 23-30480      Document: 58     Page: 46     Date Filed: 10/12/2023




Pennington was the Tennessee Valley Authority (381 U.S. at 660-661), an entity

not controlled by financially-interested market participants. The Court therefore

barred liability, explaining that Continental Ore was “wholly dissimilar.” Id. at

671 n.4. The “operative difference,” was that “in Continental Ore the public

official imposing the challenged restraint was financially interested in the

anticompetitive consequence of that restraint, whereas in Pennington the public

official was not.” Elhauge, 80 Calif. L. Rev. at 1201.

      2.     The Supreme Court’s recent decision in Dental Examiners II further

confirms that Noerr-Pennington is inapplicable when the anticompetitive restraint

is imposed by a government entity controlled by financially-interested market

participants. Dental Examiners II denied Parker state-action immunity to a

regulatory board comprising practicing dentists who had sought to exclude non-

dentist teeth whitening providers. In doing so, the Court emphasized that “active

market participants cannot be allowed to regulate their own markets free from

antitrust accountability.” 574 U.S. at 505. “[A]gencies controlled by market

participants,” the Court explained, “are more similar to private trade associations,”

where “‘[t]here is no doubt that the members … often have economic incentives to

restrain competition.’” Id. at 511 (quoting Allied Tube, 486 U.S. at 500). Given

those incentives and the “risk of self-dealing,” Dental Examiners II held that

“[w]hen a State empowers a group of active market participants to decide who can



                                        - 32 -
        Case: 23-30480      Document: 58     Page: 47    Date Filed: 10/12/2023




participate in its market, and on what terms, the need for supervision [by the State]

is manifest.” Id. at 510-511. Because such supervision was lacking over the dental

board, Parker was inapplicable.

      The same interests underlying the decision in Dental Examiners II apply

equally here. Parker and Noerr-Pennington “are complementary expressions of

the principle that the antitrust laws regulate business, not politics; [Parker] protects

the States’ act of governing,” while Noerr-Pennington protects “citizens’

participation in government.” City of Columbia v. Omni Outdoor Advert., Inc.,

499 U.S. 365, 383 (1991). The two doctrines therefore “generally present two

faces of the same coin.” Id. To be sure, as the district court observed (ROA.2340),

the doctrines may not always apply in tandem; Noerr-Pennington might protect

petitioning of government action “that turns out later to be insufficiently

authorized” under Parker. Areeda & Hovenkamp, Antitrust Law ¶229 (2022). But

that is irrelevant here, where the critical fact is that those imposing the

anticompetitive restraint financially benefit from that restraint. If, under Parker, it

is “an axiom of federal antitrust policy” to “prohibit[]” such “anticompetitive self-

regulation,” Dental Examiners II, 574 U.S. at 505, then the same should be true

under Noerr-Pennington. When should-be competitors with shared financial

interest band together to harm competition, they are subject to antitrust liability.




                                         - 33 -
       Case: 23-30480     Document: 58     Page: 48    Date Filed: 10/12/2023




      3.     The Supreme Court’s other cases involving Noerr-Pennington further

confirm that immunity is inapplicable when the anticompetitive restraint is

imposed by financially-interested market participants. In Allied Tube, the Court

declined to extend Noerr-Pennington’s protection to efforts to influence votes of

the National Fire Protection Association (NFPA), whose product standards were

“widely adopted into law by state and local governments.” 486 U.S. at 495.

      Looking to the “source, context, and nature of the anticompetitive restraint”,

the Court determined that the defendant’s conduct was (like in Continental Ore)

best characterized as “commercial activity” that was unprotected by Noerr-

Pennington. Allied Tube, 486 U.S. at 499, 505. The NFPA, the Court noted, was a

“private association” rather than a “‘quasi-legislative’ body.” Id. at 500-501. But

contrary to the district court’s reading (ROA.2339), that is not the only reason why

the Supreme Court rejected Noerr-Pennington immunity. After all, the Court

recognized that “efforts to influence the Association’s standard-setting process”

were likely “the most effective means of influencing legislation,” and that the

defendant targeted the NFPA’s standards in a “genuine effort to influence

governmental action.” 486 U.S. at 502-503. The Court nonetheless refused to

apply Noerr-Pennington because, similar to Continental Ore, the “restraint [was]

imposed by persons unaccountable to the public and without official authority,

many of whom [had] financial interests in restraining competition.” Id. at 502; see



                                       - 34 -
       Case: 23-30480       Document: 58    Page: 49   Date Filed: 10/12/2023




also id. at 501 (citing Continental Ore in stressing that NFPA was “composed, …

of persons with economic incentives to restrain trade”). The restraint therefore

“involve[d] the exercise of market power” and “resulted from private action.” Id.

at 502, 507.

      So too here. The entity imposing the challenged restraint—the

Commission—is “under the control and direction” of market participants with a

direct financial interest in restraining competition. Continental Ore, 370 U.S. at

703; ROA.1596 (¶47). As in Allied Tube, the private defendants “did not confine”

themselves to “persuad[ing] …an independent decisionmaker,” but rather

combined with other similarly self-interested market actors to directly impede

competition. 486 U.S. at 507; see also Superior Ct. Trial Lawyers, 107 F.T.C. at

596 (Noerr-Pennington generally applicable where “government has played the

role of an independent decision maker”). That is “commercial activity”—the

exercise of “market power”—subject to the antitrust laws. Allied Tube, 486 U.S. at

505, 507.

      4.       The district court believed that City of Columbia compelled Noerr-

Pennington’s application (ROA.2334-2335), but that ignored the distinction drawn

in Continental Ore, Pennington, Allied Tube, and Dental Examiners II between

financially-interested and financially-disinterested decisionmaking bodies. City of

Columbia applied Noerr-Pennington to efforts to influence an electorally-



                                        - 35 -
       Case: 23-30480     Document: 58     Page: 50   Date Filed: 10/12/2023




accountable city council, 499 U.S. at 368, which was not made up of any

financially-interested market participants and had “no private price-fixing agenda,”

Dental Examiners II, 574 U.S. at 511. The city council was accordingly “more

like prototypical state agencies, not specialized boards dominated by active market

participants.” Id. Nothing in City of Columbia addressed whether Noerr-

Pennington applies to private agreements among market participants to use their

governmental authority to act anticompetitively.

II.   TESLA PLAUSIBLY ALLEGED A VIOLATION OF THE DUE PROCESS CLAUSE

      Tesla alleged that the Commission has wielded its authority to protect its

Commissioners’ narrow economic interests against a disruptive competitor. The

Due Process Clause prohibits such a biased exercise of government power.

      A.     The Due Process Clause Does Not Permit One Segment Of An
             Industry To Use Its Control Of A State Board To Exclude
             Competitors

      The fundamental guarantee of the Due Process Clause is a neutral decision

maker. Few things threaten that guarantee more than granting self-interested

economic actors the government authority to decide the rights of their direct

competitors. But that is precisely what Louisiana’s laws do.

      In the context of economic regulation, the quintessential due process

violation occurs when the government “giv[es] a self-interested entity regulatory

authority over its competitors.” Association of Am. Railroads v. U.S. Department



                                       - 36 -
       Case: 23-30480      Document: 58     Page: 51    Date Filed: 10/12/2023




of Transp. (“Amtrak III”), 821 F.3d 19, 27 (D.C. Cir. 2016). The reason is simple:

due process, at its core, means that “those with substantial pecuniary interest in

legal proceedings should not adjudicate” such proceedings. Gibson v. Berryhill,

411 U.S. 564, 579 (1973); see also Ford Motor Co. v. Texas Dep’t of Transp., 264

F.3d 493, 511 (5th Cir. 2001) (applying same principle to “proceedings before an

administrative agency”). And as the Supreme Court first explained nearly one

hundred years ago, the delegation of regulatory power “to private persons whose

interests may be and often are adverse to the interests of others in the same

business”—i.e., their “competitor[s]”—is “clearly a denial of rights safeguarded by

the due process clause.” Carter v. Carter Coal Co., 298 U.S. 238, 311 (1936).

      The Supreme Court has long applied that principle to invalidate

adjudications conducted under regulatory arrangements like Louisiana’s. Gibson

v. Berryhill addressed the constitutionality of actions taken by Alabama’s Board of

Optometry, a regulatory entity on which only independent optometrists in private

practice were eligible to serve. See 411 U.S. at 578-579. The Court held that the

Board’s disciplinary actions against commercial optometrists (optometrists

affiliated with retail stores) were unconstitutional because the Board members had

a “substantial pecuniary interest” in the outcome of the relevant proceedings. Id. at

579. Specifically, “the aim of the Board was to revoke the licenses of all

optometrists in the State who were employed by business corporations”—a



                                        - 37 -
       Case: 23-30480     Document: 58     Page: 52    Date Filed: 10/12/2023




business model antithetical to the Board members’ private-practice model. Id. at

578. Put simply, businesses are unlikely to fairly wield the legal power to exclude

their own competition—and optometrists were no exception to that rule.

      When presented with competitor-exclusion schemes after Gibson, the

Supreme Court has summarily affirmed decisions declaring them unconstitutional.

In Wall v. American Optometric Association, a three-judge court barred a state

optometry board composed of “dispensing” optometrists (optometrists who also

distribute lenses and frames) from exercising “complete control” over the market

entry of “prescribing” optometrists (who affiliate with other business to dispense

lenses and frames). 379 F. Supp. 175, 178-179 (N.D. Ga. 1974). The district court

found “it inconceivable that” the dispensing-optometrist board members “could be

called disinterested,” because if prescribers “were prevented from practicing

optometry in Georgia,” many of those competitors’ patients would likely “seek

optometric services from” the board members. Id. at 188-189. The Supreme Court

summarily affirmed. Hardwick v. Wall, 419 U.S. 888 (1974).

      Tesla’s due process claim falls squarely within this line of cases. The

controlling majority of Commissioners “compete directly with Tesla,” so the use of

the Commission’s “authority to bar a competitor plainly redounds to the …

Commissioners’ benefit.” ROA.1638 (¶¶289-290). Moreover, Tesla is no

ordinary competitor: Commissioners perceive Tesla as an existential threat to the



                                       - 38 -
        Case: 23-30480      Document: 58     Page: 53    Date Filed: 10/12/2023




entire “franchised dealer model” on which the Commissioners depend. ROA.1638

(¶291). Thus, the Commissioners have particularly “strong incentives, including

financial incentives, to keep Tesla from Louisiana consumers.” ROA.1591 (¶16).

Unsurprisingly, Commissioners have used their power “to do what is ‘good for the

future’” of their businesses: exclude Tesla from the market, under the thin guise of

“regulating.” ROA.1638 (¶293).

      These are precisely the same interests present in Gibson and Wall. Just as

here, the optometrists had dual incentives to bar their competitors and to protect

their professional model from a disruptive, commercial business model. And just

as here, they could not be trusted to neutrally decide the fate of their economic

rivals. Indeed, Tesla alleged not just structural incentives for partiality (as in

Gibson and Wall), but concrete evidence that the Commissioners have joined with

other private dealers in common purpose to exclude Tesla from the market. See

supra pp.23-24.

      B.     The District Court Erred By Dismissing Tesla’s Claims As
             Implausible

      In dismissing Tesla’s allegations of bias as “implausible,” the district court

erroneously determined that the Commissioners had an incentive only to

“exclude[] Tesla from the motor vehicle sales market”—not to “prevent Tesla from

carrying out” “leasing and warranty repairs.” ROA.2372 (emphasis added). But

the complaint explained that leasing and servicing are critical parts of Tesla’s


                                         - 39 -
       Case: 23-30480      Document: 58    Page: 54    Date Filed: 10/12/2023




direct-to-consumer model that competes directly with the Commissioners’

franchise-dealer model. Indeed, Tesla alleged that a controlling majority of the

Commission “directly compete[s] with Tesla in the market for vehicle sales,

leasing, and servicing,” e.g., ROA.1638 (¶47 (emphasis added)), and has “a

general interest in the franchised dealer model, under which manufacturers cannot

interact directly with consumers for any reason”—including for leasing and

servicing purposes, e.g., ROA.1638 (¶291). Tesla also alleged that its ability to

perform warranty servicing was essential to its business operations in Louisiana,

because “[a]bsent that ability, consumers would not purchase or lease Tesla

vehicles or would do so in substantially smaller numbers.” ROA.1608 (¶136). As

noted (supra p.11), Tesla’s ability to compete for sales or leasing would be

severely impeded if its customers were required to trek across state lines for every

service or repair appointment. And of course, franchise dealers would happily take

the opportunity to make more money from warranty servicing themselves, in a

world where Tesla’s customers have nowhere else to turn for those services. This

is precisely why the Commissioners have been so eager to bar Tesla from offering

those services in Louisiana. The Constitution, however, does not permit the

Commission to wield its administrative authority to advance its parochial

economic interests at competitors’ expense.




                                       - 40 -
        Case: 23-30480      Document: 58     Page: 55    Date Filed: 10/12/2023




      The district court likewise erred in effectively requiring Tesla to negate

possible defenses at the pleading stage. The court demanded a robust “record” of

“actual partiality.” ROA.2372. And it further demanded an explanation for the

Commission’s purported adoption of only the second-worst possible interpretation

of the law for Tesla: namely, that Tesla may service leased, but not customer-

owned, vehicles. ROA.2373. But again, while defendants may eventually argue,

on a full record, that they were acting without bias and consistent with their good-

faith interpretation of Louisiana law, “at the pleading stage, [plaintiffs] are not yet

obliged to produce specific evidence to counter the [defendants’] merits

arguments.” General Land Off. v. Biden, 71 F.4th 264, 274 (5th Cir. 2023). And

regardless, Tesla pleaded more than enough evidence of actual bias. As explained,

the complaint alleged that the Commission is deliberately seeking to protect its

members’ financial interests by excluding Tesla from the market; that there are

written communications supporting that purpose; and that the Commission is

actively pursuing investigative measures to effectuate that purpose, while

sidestepping the issue of its jurisdiction to conduct the investigation in the first

place. Supra pp.9-13. Nothing more was required.

      The district court also got the law wrong: There is no requirement that a

plaintiff present evidence of actual partiality, because the appearance of partiality

suffices to state a due process claim. See, e.g., Marshall v. Jerrico, Inc., 446 U.S.



                                         - 41 -
       Case: 23-30480      Document: 58     Page: 56    Date Filed: 10/12/2023




238, 242 (1980) (“The Due Process Clause … preserves both the appearance and

reality of fairness[.]”); Withrow v. Larkin, 421 U.S. 35, 47 (1975); In re

Murchison, 349 U.S. 133, 136 (1955).

      The district court’s contrary legal rule is drawn from a line of inapposite

cases that uniformly involve tenure and disciplinary proceedings at universities.

See ROA.2371-2372. They provide no guidance here. First, the cases presented

no structural cause for concern about bias whatsoever—they involved routine

employment decisions, not self-interested actors’ regulation of their economic

competitors. So, the cases say nothing about the level of additional proof (if any)

required where, as here, there are overwhelming structural reasons to fear biased

adjudication. Second, these tenure cases all arose in procedural postures where a

record had already been developed before the district court and it was thus sensible

to probe that record for proof of partiality. In Megill v. Board of Regents of State

of Florida, for example, the plaintiff had “deposed seven Board members” and the

evidentiary “record [was] complete” by the time the matter reached the court of

appeals. 541 F.2d 1073, 1079-1082 (5th Cir. 1976). Duke v. North Texas State

University was likewise decided only after a hearing before the district court at

which it received evidence and heard testimony. 469 F.2d 829, 839 (5th Cir.

1972). And in all events, courts are uniquely “loathe to intrude into internal school

affairs.” Megill, 541 F.2d at 1077; see also Duke, 469 F.2d at 834 (“[C]ourts



                                        - 42 -
       Case: 23-30480      Document: 58     Page: 57    Date Filed: 10/12/2023




should not interfere with the day-to-day operations of schools[.]”). No similar

skepticism exists for reviewing the acts of private parties whom the state has

appointed as regulatory agents over their own industry.

      C.     Cases Permitting Industrial Self-Regulation Are Distinguishable

      The district court also excused the Commission’s unconstitutional bias by

attempting to analogize to various factually inapposite cases in which courts have

approved other forms of industrial self-regulation. Those comparisons do not hold

up to scrutiny.

             1.     Chrysler Corporation v. Texas Motor Vehicle Commission

      The district court relied on Chrysler Corporation v. Texas Motor Vehicle

Commission, 755 F.2d 1192, 1199 (5th Cir. 1985), for the proposition that “an

incentive to wield power to” a competitor’s disadvantage “is not enough to state a

claim under the Due Process Clause” against a regulatory entity. ROA.2371. But

that elides a critical distinction between this case and Chrysler.

      In Chrysler, an automobile manufacturer argued that a dealer-dominated

commission was too biased to adjudicate warranty disputes between manufacturers

and dealers—disputes that may arise from problems caused by manufacturing

defects or by negligent dealer repair. 755 F.2d at 1198. The dealer commissioners

in Chrysler had at least as much incentive to take the side of a manufacturer

against a rival dealer (with whom it competed for business) as they had to side with



                                        - 43 -
       Case: 23-30480      Document: 58     Page: 58    Date Filed: 10/12/2023




a dealer against the manufacturer plaintiff. Id. at 1199. Thus, the Fifth Circuit

concluded that the “predictors of bias … point[ed] in opposite directions,” meaning

that the adjudicator had no clear stake in the outcome of the proceedings before it.

Id. Here, by contrast, the “predictors of bias” point in a single direction—against

Tesla, whose direct-to-consumer model uniformly threatens the business model

used by all dealer Commissioners.

             2.     Friedman v. Rogers

      The district court also relied on Friedman v. Rogers for the general—and

here, irrelevant—proposition that “regulatory boards are not unconstitutional

merely because they are composed of competitors of the entities they regulate.”

ROA.2367 (citing Friedman v. Rogers, 440 U.S. 1, 18 (1979)). As the D.C.

Circuit has explained, the trouble in Friedman was that the “plaintiffs never

alleged the Board members would act out of self-interest instead of fairness, only

that the board’s composition itself was unfair.” Amtrak III, 821 F.3d at 35; see

also Abramson v. Gonzalez, 949 F.2d 1567, 1579 (11th Cir. 1992) (dismissing

claims under Friedman because “the plaintiffs’ challenge focuses on the general

role of the [licensing board] in the profession, not any specific unfairness in a

disciplinary matter”). The Friedman plaintiffs, unlike their counterparts in Gibson

and Wall, identified no administrative action infected by bias—an action that

would enable the court “to examine in a particular context the possibility that the



                                        - 44 -
       Case: 23-30480      Document: 58     Page: 59    Date Filed: 10/12/2023




members of the regulatory board might have personal interests that precluded a fair

and impartial hearing.” Friedman, 440 U.S. at 18.

      By contrast, Tesla, like the Gibson and Wall plaintiffs, alleged that the

Commissioners have and will continue to act out of self-interest to undermine

Tesla’s business and exclude it from the Louisiana market. Supra pp.38-39. That

is very different from the situation in Friedman. Indeed, Tesla has even identified

specific regulatory and investigative measures the Commission has already taken

because of its bias. Those include the issuance of subpoenas, the Commission’s

refusal to continue its hearing, the adjudication of the motion to compel, the refusal

of Tesla’s request for a fleet owner determination, and the adjudication and denial

of Tesla’s motion for rehearing. ROA.1619-1624 (¶¶204-230).

             3.    Traditional Industry Self-Regulation

      Finally, the district court drew a false equivalence between organized cartels

and the “common and accepted practice” of industrial self-regulation. See

ROA.2368-2369 (quoting New York State Dairy Foods, Inc. v. Northeast Dairy

Compact Comm’n, 198 F.3d 1, 13-14 (1st Cir. 1999)). But industrial self-

regulation is permitted only when board members’ pecuniary interest in the matters

before them remains “slight.” Stivers v. Pierce, 71 F.3d 732, 743 (9th Cir. 1995).

By contrast, the Constitution prohibits industry boards from adjudicating matters in

which their members have a “direct” and “substantial” interest. Id. Tesla alleged



                                        - 45 -
         Case: 23-30480    Document: 58      Page: 60    Date Filed: 10/12/2023




the latter: Tesla directly threatens the Commissioners’ business model, and the

Commissioners expect to acquire Tesla’s customers if they succeed in excluding

the company from Louisiana. See supra pp.38-40.

      Consider what a typical licensing board—the “common and accepted” sort

the district court mentions—ordinarily looks like. Those boards, like the ones

governing lawyers or doctors, usually address one-off licensing or disciplinary

matters in a large market. With a board like that, the “level of attenuation”

between the adjudicator’s interest and any given proceeding is “remote.” New

York State Dairy Foods, 198 F.3d at 14. For instance, “it is unlikely that any

attorney practicing in a city like Los Angeles would have a competitive interest

sufficiently strong to require that he be disqualified from considering the licensing

of an additional lawyer.” Stivers, 71 F.3d at 743. But the danger of biased

decision-making is far greater when a regulatory board can discipline a substantial

portion of its competition at once, rather than just a tiny fraction. Indeed, “[a]

lawyer in a one-lawyer town, for example, would probably have a ‘direct’ and

‘substantial’ pecuniary interest in the licensing of a competitor planning to hang a

shingle across the street.” Id. So too a barber who gets to decide whether his rival

can open shop next door. See Wilkerson v. Johnson, 699 F.2d 325, 328 (6th Cir.

1983).




                                         - 46 -
       Case: 23-30480      Document: 58     Page: 61   Date Filed: 10/12/2023




      Here, just like the small-town lawyer, incumbent barber, or optometrists

excluding a rival sect, the Commissioners can be confident that if they exclude

Tesla from the market, the Commission’s “individual members … would fall heir

to [their competitors’] business.” Gibson, 411 U.S. at 571. Tesla is no solo

practitioner—it is a popular, growing automobile seller with a large existing and

potential customer base. See ROA.1605 (¶¶121-122). If those customers cannot

buy or lease from Tesla, they will turn instead to the Commission’s members. And

of equal significance, if the Commission fails in its mission to exclude Tesla from

the market, its members will be exposed to the “substantial risk” that their

“consumers will vote with their feet and choose Tesla vehicles and other direct to

consumer automobile manufacturers” over vehicles sold via independent

dealerships, threatening the dealerships’ entire business model. ROA.1614 (¶172).

Indeed, Tesla’s entry into the market is routinely described by the press as an

“existential” risk to the dealership model. See, e.g., Weber, How Tesla’s Direct

Sales Model Is Roiling The Car Dealership Industry, The Week (June 21, 2023),

https://theweek.com/us/1024416/tesla-vs-car-dealerships. It strains credulity to

think that the Commission’s members have only a “slight” pecuniary interest in

preventing what has prominently been said to portend their economic extinction.




                                        - 47 -
        Case: 23-30480     Document: 58     Page: 62    Date Filed: 10/12/2023




III.   TESLA PLAUSIBLY ALLEGED A VIOLATION OF THE EQUAL PROTECTION
       CLAUSE

       Even if the Commission were capable of impartially enforcing the direct-

sale and warranty-servicing laws, the laws’ bans on non-franchising manufacturers

directly selling vehicles or providing non-fleet warranty services independently

violate the Equal Protection Clause.

       A.    Banning Non-Franchising Manufacturers From Directly Selling
             Or Performing Warranty Service Violates The Equal Protection
             Clause Because It Serves No Purpose But Protectionism

       The Equal Protection Clause of the Fourteenth Amendment bars any

government classification for which “no rational basis can or has been articulated.”

St. Joseph Abbey v. Castille, 712 F.3d 215, 221 (5th Cir. 2013). “[A]lthough

rational basis review places no affirmative evidentiary burden on the government,

plaintiffs may nonetheless negate a seemingly plausible basis for the law by

adducing evidence of irrationality.” Id. at 223.

       Banning non-franchising manufacturers from selling cars directly to

customers and servicing customer-owned vehicles irrationally singles out those

manufacturers for disfavored treatment. The laws treat similar parties differently

by distinguishing non-franchising car manufacturers from franchise dealerships

and independent service centers when it comes, respectively, to selling and

servicing cars. And that distinction is irrational, as it serves no purpose other than

pure protectionism.


                                        - 48 -
        Case: 23-30480      Document: 58     Page: 63    Date Filed: 10/12/2023




      As explained (supra pp.7-8), prior to 2017, state law merely barred car

manufacturers from competing with their own franchise dealers. But in 2017, the

State amended the law to prohibit non-franchising dealers—who have no

franchises with whom they could possibly compete unfairly—from selling directly

to customers. And at the same time, the Commission appears to have adopted the

view that state law bans Tesla from performing warranty services on customer-

owned vehicles—despite lacking any franchise dealers with which it might

compete for warranty servicing. As Tesla alleged, “the only possible purpose

behind” banning non-franchising dealers from direct sales and from non-fleet

warranty servicing “is to protect Louisiana’s local, in-State franchised auto dealers

from economic competition.” ROA.1642-1643 (¶¶323, 326). Indeed, Louisiana’s

laws are textbook examples of rent-seeking’s triumph over rational economic

regulation. See, e.g., Kreps, Microeconomics for Managers §9.1, at p.202 (2d ed.

2019) (explaining that, with direct car sales permitted, the “manufacturer is better

off” and “[t]he public is better off,” but that “the retailer is unhappy”).

      This Circuit and others have squarely rejected the idea “that mere economic

protection of a particular industry is a legitimate governmental purpose” capable of

satisfying rational basis review. St. Joseph Abbey, 712 F.3d at 222; see Craigmiles

v. Giles, 312 F.3d 220, 224 (6th Cir. 2002); Merrifield v. Lockyer, 547 F.3d 978,

991 n.15 (9th Cir. 2008). The Constitution does not permit “the taking of wealth



                                         - 49 -
       Case: 23-30480      Document: 58     Page: 64   Date Filed: 10/12/2023




and handing it to others … as ‘economic’ protection of the rulemakers’ pockets.”

St. Joseph Abbey, 712 F.3d at 226-227. The Constitution accordingly bars both

laws at issue here.

      Indeed, the direct-sale and warranty-servicing bans bear a striking

resemblance to the protectionist law this Court struck down in St. Joseph Abbey.

That case concerned a protectionist Louisiana law that “grant[ed] funeral homes an

exclusive right to sell caskets.” 712 F.3d at 217. It barred sales of caskets by any

persons or companies other than those favored middlemen. This Court held that

the law denied equal protection to the plaintiffs—monks who wanted to sell

caskets directly to the public—because it could not be rationally justified on any

grounds other than “pure economic protection.” Id. at 221.

      Though the state asserted other interests supporting its policy, those

rationales were so “nonsensical” as to be untenable bases for sustaining the

regulation. St. Joseph Abbey, 712 F.3d at 226. In reaching that conclusion, the

Court refused to adopt a policy of “blindness to the history of [the] challenged rule

[and] the context of its adoption.” Id. The State’s asserted interest in consumer

protection “obscure[d] the actual structure of the challenged law.” Id. at 223.

Beyond the irrational decision to confer “funeral industry control over intrastate

casket sales,” Louisiana imposed no real requirements on the sale of caskets. Id. at

223-225. And the “grant of an exclusive right of sale add[ed] nothing to protect



                                        - 50 -
        Case: 23-30480     Document: 58      Page: 65    Date Filed: 10/12/2023




consumers,” and instead put “them at a greater risk of abuse including exploitative

prices.” Id. at 226. The court also rejected the state’s public safety rationale. That

asserted interest likewise “elide[d] the real[i]ties of Louisiana’s regulation of

caskets and burials,” because other portions of Louisiana law did not impose

health-and-safety requirements on casket sales by funeral directors—“Louisiana

does not even require a casket for burial.” Id.

      As in St. Joseph Abbey, the “history” and “context” of the bans at issue here

reek of “pure economic protection.” 712 F.3d at 221, 226. The legislator

introducing the amendment extending the direct sales ban to non-franchising

dealers candidly admitted that he was pressing the amendment “on behalf of the

Auto Dealers Association,” ROA.1613 (¶168), following the group’s intense

lobbying efforts aimed at stamping out Tesla’s business in Louisiana, ROA.1594

(¶35). LADA’s president even referred to it as “our bill.” ROA.1611 (¶149). And

the investigation into Tesla under the warranty-servicing ban has been driven by

the dealers, out of concern for their business and a desire to undermine Tesla.

ROA.1615-1617 (¶¶177-191). Indeed, the fact that the direct-sale bans’ extension

and the warranty-servicing ban’s enforcement appear to be “motivated by animus

or ill-will” towards Tesla in particular makes them especially constitutionally

suspect. Johnson v. Bredesen, 624 F.3d 742, 747 (6th Cir. 2010).




                                         - 51 -
       Case: 23-30480      Document: 58     Page: 66    Date Filed: 10/12/2023




      What is more, just as in St. Joseph Abbey, any alternative rationales for

Louisiana’s bans here cannot be reconciled with the rest of the statutory scheme.

Louisiana permits any manufacturer to operate a dealership for (a) “a reasonable

period, not to exceed two years,” (b) or for two years if the dealership “is for sale”,

and (c) even longer if the manufacturer shares operation of the dealership with an

independent investor who stands to eventually acquire ownership. La. R.S.

§32:1261(A)(1)(k)(i)(aa), (bb), (cc). These arrangements cannot be squared with a

claim that direct-to-consumer sales risk defrauding the public and endangering the

public welfare. But each is perfectly reconcilable with the economic interests of

franchise dealers, who may wish to purchase a manufacturer’s successful

dealership after two years, or acquire it from a manufacturer partner.

      The warranty-servicing ban likewise elides the realities of the regulatory

scheme governing automobile servicing. For one thing, the law gives

manufacturers the authority to authorize fleet owners to perform warranty repairs,

and gives those manufacturers “sole discretion” to decide what “special tools,

technician certification, and training” are required for a fleet owner to do so. La.

R.S. §32:1261(A)(1)(t)(ii). If manufacturers can be trusted to decide on the

requirements for others to service their vehicles, it defies reason to think they

cannot be trusted to service (their own) vehicles themselves. Even more bizarrely,

according to the Commission, the law permits Tesla to service leased vehicles, but



                                        - 52 -
        Case: 23-30480      Document: 58     Page: 67   Date Filed: 10/12/2023




not customer-owned vehicles. See supra p.48. There is simply no explanation for

why Tesla’s ability to repair vehicles safely and consistently would turn on who

holds the title to a vehicle brought in for service.

      Precedent involving laws that (like Louisiana’s before 2017) banned direct

sales only by franchising manufacturers is inapposite. Those direct-sale bans were

first introduced in the 1930s and 1950s to protect dealers from perceived abuses of

the franchise relationship by manufacturers. See Crane, Tesla, Dealer Franchise

Laws, and the Politics of Crony Capitalism, 101 Iowa L. Rev. 573, 578-580

(2016). That is the sole ground on which such laws are ever seriously defended,

and the sole ground on which they have ever been upheld by this Court. In Ford

Motor Co. v. Texas Department of Transportation, 264 F.3d 493 (5th Cir. 2001),

and International Truck & Engine Co. v. Bray, 372 F.3d 717 (5th Cir. 2004), the

Court upheld laws prohibiting car manufacturers who all sold vehicles via

traditional third-party dealerships from also operating their own dealerships. That

was because such an arrangement posed a very specific danger: since a

manufacturer like Ford occupied a “superior market position to its dealers,” it

might “tak[e] advantage of [its] incongruous market position” at the dealers’

expense. Ford, 264 F.3d at 503-504 (emphasis added); see also International

Truck, 372 F.3d at 729 (rejecting similar challenge on the ground that the

manufacturer “wields power” over its dealers).



                                         - 53 -
       Case: 23-30480      Document: 58     Page: 68    Date Filed: 10/12/2023




      Tesla and other non-franchising-manufacturers, by contrast, have no

franchise dealers they could possibly take advantage of. Put differently, they lack

the sole feature that has ever—indeed, could ever—justify a law like Louisiana’s.

The FTC has said just that: “Protecting dealers from abuses by manufacturers does

not justify a blanket prohibition … which extends to all vehicle manufacturers,

even those like Tesla … who have no interest in entering into a franchise

agreement with any dealer.” Lao et al., Direct-to-consumer auto sales: It’s not

just about Tesla, FTC (May 11, 2015), https://www.ftc.gov/enforcement/

competition-matters/2015/05/direct-consumer-auto-sales-its-not-just-about-tesla.

What Louisiana’s law protects dealers from is not the abuse of market power, but

competition. That is pure protectionism, and not a rational basis for public policy.

      B.     The District Court Erred In Dismissing Tesla’s Equal Protection
             Claim On The Pleadings

      The district court approved both the direct-sales ban and the warranty-

servicing ban by offering up an unexplained laundry list of justifications. For the

direct-sales ban, the court listed: “prevent[ing] frauds, impositions, and other

abuses upon its citizens;” “protect[ing] the public against the creation or

perpetuation of monopolies and practices detrimental to the public welfare;” and

“prevent[ing] disruption of the system of distribution of motor vehicles … to the

public.” ROA.2378. And for the warranty-servicing ban, it offered a smaller, but

similarly lightly-reasoned list: assuring all servicing entities meet “basic


                                        - 54 -
        Case: 23-30480      Document: 58      Page: 69   Date Filed: 10/12/2023




requirements” for tools and training and (once again) “preventing ‘the creation or

perpetuation of monopolies.’” ROA.2383-2384.

      To start, the district court erred in accepting these rationales on the

pleadings, rather than permitting discovery so that they could be assessed on a

complete record. Dismissal in this setting would be appropriate only if just a

“‘momentary reflection’” were required “to arrive at a purpose that is both

legitimate beyond dispute and rationally related to” both bans. Mahone v. Addicks

Util. Dist. of Harris Cnty., 836 F.2d 921, 936 (5th Cir. 1988). As explained below,

none of the asserted purposes here pass that test. At minimum, each is contestable,

particularly as to “the ‘fit’ between the classification and the purpose.” Id. at 933.

And “the determination of the fit … —the search for rationality—may … require a

factual backdrop.” Id. at 937.

      Indeed, St. Joseph Abbey itself was decided on a full record following trial,

and this Court’s decision relied on the plaintiffs’ evidence in negating the asserted

interests. 712 F.3d at 220, 223-226. Here, too, Tesla will be able to prove what it

has pleaded: that the bans serve only to protect incumbent dealers, and are not

rationally related to any legitimate state interest.

      In any event, the pleadings alone make clear that the rationales the district

court relied on cannot justify Louisiana’s laws.




                                          - 55 -
       Case: 23-30480      Document: 58     Page: 70    Date Filed: 10/12/2023




             1.    The Direct-Sales Ban

      The district court erred in unreflectively concluding that the direct-sale ban

protects consumers. A court must do more than just “hypothesize[]” a rational

purpose—“the rational relationship” between that purpose and the challenged law

“must be real.” Mahone, 836 F.2d at 937. Here, however, the district court failed

to provide more than an unadorned hypothesis about the law’s purposes. And

when probed even slightly, it becomes clear that the connection between the direct-

sale ban and consumer protection is “fantasy.” St. Joseph Abbey, 712 F.3d at 223.

As already explained, the rest of the statutory scheme belies any consumer-

protection explanation—manufacturers are allowed to operate dealerships for years

at a time (risking, in defendants’ telling, abuse and fraud of consumers) so long as

they do so with an eye toward ultimately selling or transferring their dealership to a

member of the Dealer Cartel. Supra p.52.

      Moreover, the universal economic and policy consensus is that direct-sales

bans serve no consumer protection purpose. Supra pp. 49, 54. As the FTC has

said in urging an end to direct-sales bans, these laws “operate as a special

protection for dealers—a protection that is likely harming both competition and

consumers.” Letter from FTC Directors of Bureaus of Economics and

Competition and Office of Policy Planning to Michigan State Senator Darwin L.




                                        - 56 -
       Case: 23-30480      Document: 58     Page: 71    Date Filed: 10/12/2023




Booher (May 7, 2015).4 Furthermore, because the same laws also completely

exclude carmakers, like Tesla, who rely on a direct-sales model to operate, they

significantly limit the options available to car purchasers. They also make the

market “less responsive to consumer preferences and less innovative in

anticipating their evolving needs” by curbing the “essential mechanism that drives

markets—the interaction between the supply by manufacturers and the demands of

consumers.” Id. at 8. The resulting “system limits competition” and “deters

experimentation.” Id. at 7-8. And predictably, “consumers are paying the price.”

Id. at 8. That is not a system that can be rationally described as “protecting the

public” in any relevant respect. It protects the public from only one thing: a

properly functioning market.

      The other ill-explained rationales on which the district court relied are

similarly irrational. With respect to the “perpetuation of monopolies,” ROA.2378,

the court offered no explanation for how non-franchising manufacturers pose any

threat of monopolizing the market—indeed, Tesla, the most successful company in

that category, accounts for less than 5% of car sales nationwide, see Muller,

Tesla’s Dominance Fades as EV Adoption Grows, Axios (Apr. 5, 2023),




4
  Available at https://www.ftc.gov/system/files/documents/advocacy_documents/
ftc-staff-comment-regarding-michigan-senate-bill-268-which-would-create-
limited-exception-current/150511michiganautocycle.pdf.


                                        - 57 -
        Case: 23-30480      Document: 58    Page: 72    Date Filed: 10/12/2023




https://www.axios.com/2023/04/05/tesla-ev-electric-vehicle-adoption. And

“preven[ting] disruption of the system of distribution of motor vehicles” is simply

bald protectionism put in different words. ROA.2378. A state may not justify its

decision to protect an incumbent industry with the tautological rationale that doing

so will protect that industry.

      Finally, the district court also erred in relying heavily on Ford and

International Truck to uphold the direct-sales ban. ROA.2379-2381. As already

explained, those cases considered only the rationality of a sales ban for franchising

manufacturers—not a ban for non-franchising manufacturers like Tesla. Supra

p.53. And their reasoning was focused exclusively on that question. They thus do

not answer the question presented here. That is, indeed, precisely what a district

court in this circuit recently concluded in a similar case. See Lucid Grp. USA, Inc.

v. Johnston, 2023 WL 5688153, at *5 (W.D. Tex. June 21, 2023) (Ford’s

“rationale has little bearing in the context of [a] challenge … limited to [a] law’s

application against manufacturers that do not utilize independent dealers.”).

Courts around the country have consistently reached the same conclusion in

interpreting analogous state laws. See, e.g., Tesla Inc. v. Delaware Div. of Motor

Vehicles, 297 A.3d 625, 634 (Del. 2023) (Ford and International Truck “are

distinguishable” because in those cases “the manufacturers had their own

dealers”); Arizona Auto. Dealers Ass’n v. Arizona Dep’t of Transp., 2017 WL



                                        - 58 -
        Case: 23-30480     Document: 58      Page: 73    Date Filed: 10/12/2023




9753918, at *4 (Ariz. Super. Ct. Mar. 3, 2017) (similar); Massachusetts State Auto.

Dealers Ass’n v. Tesla Motors, M.A., Inc., 15 N.E.3d 1152, 1155-1156 (Mass.

2014) (similar); Greater New York Auto. Dealers Ass’n v. Department of Motor

Vehicles, 969 N.Y.S.2d 721, 725-727 (Sup. Ct. 2013) (similar). Ford and

International Truck thus cannot make up for the irrationality of the bans’ asserted

justifications.

              2.    The Warranty-Servicing Ban

       The district court speculated that the warranty-servicing ban “could help

assure that all entities providing these services meet ‘the same basic level of

requirements for special tools, technician certification, and training.’” ROA.2383-

2384. But there is no rational relationship between that asserted objective and the

warranty-servicing ban. Tellingly, the ban contains no requirements at all for

tools, certification, or training. And the district court did not provide any

explanation for how a service facility’s tools, certification, or training could

possibly be inferred from whether that facility is operated by a car manufacturer.

If anything, one would expect manufacturers to have more consistent training and

tools for servicing vehicles they designed and built, and a greater incentive to keep

their vehicles—the most prominent public emissaries of their brand—in top

working order. Indeed, Tesla has had to create training programs to address third-

party servicers’ lack of familiarity with electric-vehicle repairs. See Carey et al.,



                                         - 59 -
       Case: 23-30480      Document: 58     Page: 74   Date Filed: 10/12/2023




EV Broken? Finding a Technician to Fix It May Take a While, Reuters (Sept. 6,

2023), https://www.reuters.com/business/autos-transportation/ev-broken-finding-

technician-fix-it-may-take-while-2023-09-06/. Yet such servicers—who depend

on Tesla to figure out how to service the company’s vehicles—are the sole entities

Louisiana entrusts to service customer-owned vehicles in the state. Furthermore,

Tesla—unlike franchise dealerships—primarily compensates employees by the

hour, eliminating the incentive dealerships have to rush services or upsell

unnecessary “repairs.” ROA.1608 (¶137).

      As explained above, Louisiana law elsewhere reflects the (obviously correct)

understanding that manufacturers are entirely trustworthy when it comes to

servicing and repairs of their vehicles. The law entrusts manufacturers to

unilaterally decide on the appropriate requirements for fleet-owner warranty-

servicers. Supra pp.52-53. And the Commission appears to accept that the law

permits Tesla to service its leased vehicles without issue. Supra pp.52-53. When

the law confers on Tesla both the authority to declare the standards others must

follow for repairs, and to repair some cars itself (inexplicably depending on the

car’s ownership status), it is incomprehensible that the law should nonetheless bar

Tesla from servicing customer-owned vehicles. The only explanation is that the

law’s purpose is not to ensure safe and reliable repairs, but instead to impede

Tesla’s operations in the State—to protect incumbent businesses.



                                        - 60 -
       Case: 23-30480      Document: 58     Page: 75    Date Filed: 10/12/2023




      The district court also held—without explanation—that the warranty-

servicing ban “rationally relates to the Legislature’s stated purpose of preventing

‘the creation or perpetuation of monopolies’ by manufacturers.” ROA.2384. But

permitting Tesla to compete with other mechanics to service its vehicles increases,

rather than diminishes, competition. It is thus entirely unclear how the warranty-

servicing ban relates to an objective in avoiding monopolies. And the district

court, for its part, provided no explanation—just like with every other dubious

justification proffered for Louisiana’s anti-Tesla crusade.

                                  CONCLUSION

      The judgment should be reversed.


                                                 Respectfully submitted.

                                                 /s/ Ari Holtzblatt
MARK R. BEEBE (#19487)                           ARI HOLTZBLATT
DIANA COLE SURPRENANT (#33399)                   ANDRES C. SALINAS
ADAMS AND REESE LLP                              ANDREW K. WAKS
701 Poydras Street, Suite 4500                   WILMER CUTLER PICKERING
New Orleans, LA 70139                               HALE AND DORR LLP
                                                 2100 Pennsylvania Avenue, NW
                                                 Washington, DC 20037
                                                 (202) 663-6000
                                                 ari.holtzblatt@wilmerhale.com




                                        - 61 -
      Case: 23-30480   Document: 58   Page: 76    Date Filed: 10/12/2023




                                           DAVID GRINGER
                                           TONY J. LEE
                                           WILMER CUTLER PICKERING
                                             HALE AND DORR LLP
                                           7 World Trade Center
                                           250 Greenwich Street
                                           New York, NY 10007

                                           Counsel for Plaintiffs-Appellants
October 12, 2023




                                  - 62 -
       Case: 23-30480      Document: 58     Page: 77     Date Filed: 10/12/2023




                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g)(1), the undersigned hereby certifies that

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                                                  /s/ Ari Holtzblatt
                                                  ARI HOLTZBLATT

October 12, 2023
Case: 23-30480   Document: 58   Page: 78   Date Filed: 10/12/2023




             ADDENDUM
           Case: 23-30480             Document: 58              Page: 79       Date Filed: 10/12/2023




                                             ADDENDUM
                                         TABLE OF CONTENTS


U.S. Const. Amend. XIV, § 1 ............................................................................ Add.1

15 U.S.C. § 1 ...................................................................................................... Add.2

La. R.S. § 32:1253 ............................................................................................. Add.3

La. R.S. § 32:1261(A)(1) ................................................................................... Add.7




                                                            i
       Case: 23-30480      Document: 58     Page: 80    Date Filed: 10/12/2023




                           U.S. Const. Amend. XIV, § 1

All persons born or naturalized in the United States, and subject to the jurisdiction
thereof, are citizens of the United States and of the State wherein they reside. No
State shall make or enforce any law which shall abridge the privileges or
immunities of citizens of the United States; nor shall any State deprive any person
of life, liberty, or property, without due process of law; nor deny to any person
within its jurisdiction the equal protection of the laws.




                                       Add.1
       Case: 23-30480     Document: 58     Page: 81   Date Filed: 10/12/2023




                                   15 U.S.C. § 1

Every contract, combination in the form of trust or otherwise, or conspiracy, in
restraint of trade or commerce among the several States, or with foreign nations, is
declared to be illegal. Every person who shall make any contract or engage in any
combination or conspiracy hereby declared to be illegal shall be deemed guilty of a
felony, and, on conviction thereof, shall be punished by fine not exceeding
$100,000,000 if a corporation, or, if any other person, $1,000,000, or by
imprisonment not exceeding 10 years, or by both said punishments, in the
discretion of the court.




                                       Add.2
       Case: 23-30480    Document: 58     Page: 82   Date Filed: 10/12/2023




                               La. R.S. § 32:1253

A. The Louisiana Motor Vehicle Commission is hereby created within the office of
the governor and shall be composed of eighteen members appointed by the
governor, as follows:

      (1) A chairman of the commission shall be appointed from the state at large.
      Fourteen members shall be appointed in such manner that at least one shall
      be from each of the commission districts as listed below:

            (a) Commission District 1 shall consist of the following parishes:
            Orleans, Plaquemines, St. Bernard, St. Tammany, and Washington.

            (b) Commission District 2 shall consist of the following parishes:
            Jefferson, St. Charles, St. John, St. James, and Tangipahoa.

            (c) Commission District 3 shall consist of the following parishes: East
            Baton Rouge, West Baton Rouge, Iberville, Ascension, East Feliciana,
            West Feliciana, St. Helena, Livingston, Assumption, and Pointe
            Coupee.

            (d) Commission District 4 shall consist of the following parishes:
            Richland, Franklin, Union, Lincoln, Jackson, Winn, Caldwell,
            Ouachita, Morehouse, West Carroll, East Carroll, and Madison.

            (e) Commission District 5 shall consist of the following parishes:
            Caddo, Bossier, Webster, DeSoto, Red River, Bienville, Claiborne,
            and Sabine.

            (f) Commission District 6 shall consist of the following parishes:
            Rapides, Grant, LaSalle, Catahoula, Concordia, Avoyelles, Vernon,
            Tensas, and Natchitoches.

            (g) Commission District 7 shall consist of the following parishes:
            Beauregard, Allen, Calcasieu, Cameron, Jefferson Davis, Acadia, and
            Evangeline.

            (h) Commission District 8 shall consist of the following parishes:
            Lafayette, St. Landry, St. Martin, St. Mary, Iberia, Terrebonne,
            Lafourche, and Vermilion.




                                      Add.3
 Case: 23-30480     Document: 58      Page: 83     Date Filed: 10/12/2023




(2) Each of the commissioners appointed under the provisions of Paragraph
(1) of this Subsection shall have been an actively engaged licensee of the
commission or its previous Louisiana licensing commission for not less than
five consecutive years prior to such appointment, and be a holder of such a
license at all times while a member of the commission. Being engaged in
more than one such pursuit shall not disqualify a person otherwise qualified
from serving on the commission. Of these members, one member shall be
primarily engaged in the business of lease or rental, one member shall be
primarily engaged in the business of heavy truck sales, one member shall be
primarily engaged in the business of marine product sales, one member shall
be primarily engaged in the business of motorcycle sales, one member shall
be primarily engaged in the business of recreational vehicle sales, and one
member shall be primarily engaged in the business of sales finance.

(3)

      (a) Each of the three remaining appointive members shall be a public
      member who is not a licensee under this Chapter and shall be
      appointed from the state at large. These three commissioners shall
      have the sole function of hearing and deciding matters concerning
      brokers and disputes between manufacturers, distributors, converters,
      motor vehicle lessor franchisors, or representatives and motor vehicle
      dealers, recreational products dealers, specialty vehicle dealers, motor
      vehicle lessors, and hearings pursuant to R.S. 32:1270.31 et seq.

      (b) This function shall be performed only when so requested in
      writing at the time of the filing of the initial protest or initial answer to
      the protest. If no party requests a hearing before these commissioners,
      the commissioners appointed pursuant to Paragraph (1) of this
      Subsection shall retain jurisdiction over the dispute. Should a
      consumer, broker, manufacturer, distributor, converter, motor vehicle
      lessor franchisor, representative, motor vehicle lessor, specialty
      vehicle dealer, recreational product dealer, or motor vehicle dealer
      make the request as set forth above, the commissioners appointed
      pursuant to Paragraph (1) of this Subsection shall not participate,
      deliberate, or in any way take part in the hearing.

      (c) The three commissioners shall elect among themselves a chairman
      to serve as presiding officer of the hearing.




                                  Add.4
       Case: 23-30480      Document: 58     Page: 84    Date Filed: 10/12/2023




      (4) Each appointment to the commission by the governor shall be submitted
      to the Senate for confirmation. Each commissioner shall at the time of
      appointment be a resident of this state and shall be of good moral character.

B.

      (1) The members shall serve at the pleasure of the governor. In the event of
      the death, resignation, or removal of any person serving on the commission,
      the vacancy shall be filled in the manner of the original appointment.

      (2) The commission shall meet in Jefferson Parish and complete its
      organization immediately after the entire membership thereof has been
      appointed and has qualified.

      (3) The chairman and each member of the commission shall take and
      subscribe to the oath of office required of public officers.

C. The chairman and members of said commission shall receive fifty dollars per
diem for each and every day necessarily spent in conducting the business of the
commission, and shall be reimbursed for actual expenses incurred in the
performance of their duties under this Chapter.

D. The commission shall appoint a qualified person to serve as executive director
thereof, to serve at the pleasure of the commission and shall fix his salary and shall
define and prescribe his duties. The executive director shall be in charge of the
commission's office and shall devote such time to the duties thereof, as may be
necessary. Said commission may employ such clerical and professional help and
incur such expenses as may be necessary for the proper discharge of its duties
under this Chapter. The commission shall maintain its office and transact its
business in Jefferson Parish, and it is authorized to adopt and use a seal.

E. The commission is hereby vested with the powers and duties necessary and
proper to enable it to fully and effectively carry out the provisions and objects of
this Chapter, and is hereby authorized and empowered to make and enforce all
reasonable rules and regulations and to adopt and prescribe all forms necessary to
accomplish said purpose, and the enumeration of any power or authority herein
shall not be construed to deny, impair, disparage, or limit any others necessary to
the attainment thereof, provided no rule or regulation of the commission, including
but not limited to Chapter 7 (Advertising) of Subpart 1 of Part V of Title 46,
comprised of LAC 46:V:701 through 741, of the Louisiana Administrative Code,
shall prohibit a dealer from making a monetary donation or contribution that does
not directly involve the sale or lease of a motor vehicle in connection with an

                                        Add.5
       Case: 23-30480      Document: 58     Page: 85    Date Filed: 10/12/2023




advertising campaign. A copy of all rules and regulations adopted by the
commission shall be published in the Louisiana Administrative Code, as they may
be amended, modified, or repealed from time to time.

F. All fees and charges under the provisions of this Chapter shall be collected and
received by the executive director of the commission and shall be disbursed by him
at the direction of the commission in administering and enforcing the provisions of
this Chapter.

G. All expenses incurred by the commission in carrying out the provisions of this
Chapter, including but not limited to per diem, wages, salaries, rent, postage,
supplies, bond premiums, travel and subsistence, and printing and utilities, shall be
a proper charge against said fund.

H. The commission shall, in addition to the powers herein conferred, be constituted
a body politic or political corporation, invested with the powers inherent in
corporations, including but not limited to the power and authority to own
immovable property. It may sue and be sued under the style of the commission,
and all process against the commission shall be served on the chairman or
executive director in person, and all suits on behalf of the commission shall be
brought by the chairman. The domicile for the purpose of being sued shall be
Jefferson Parish. No member of the commission, or the executive director, shall be
subject to suit or be held liable as an individual in any suit against the commission.




                                       Add.6
        Case: 23-30480      Document: 58      Page: 86   Date Filed: 10/12/2023




                              La. R.S. § 32:1261(A)(1)

A. It shall be a violation of this Chapter:

(1) For a manufacturer, a distributor, a wholesaler, distributor branch, factory
branch, converter or officer, agent, or other representative thereof:

      (a) To induce or coerce, or attempt to induce or coerce, any licensee:

             (i) To order or accept delivery of any recreational product, motor
             vehicle or vehicles, appliances, equipment, parts or accessories
             therefor, or any other commodity or commodities which shall not
             have been voluntarily ordered.

             (ii) To order or accept delivery of any vehicle with special features,
             appliances, accessories, or equipment not included in the list price of
             said vehicles as publicly advertised.

             (iii) To order for any person any parts, accessories, equipment,
             machinery, tools, appliances, or any commodity whatsoever.

             (iv) To assent to a release, assignment, novation, waiver, or estoppel
             which would relieve any person from liability to be imposed by law,
             unless done in connection with a settlement agreement to resolve a
             matter pending a commission hearing or pending litigation between a
             manufacturer, distributor, wholesaler, distributor branch or factory
             branch, or officer, agent, or other representative thereof.

             (v) To enter into a franchise with a licensee or during the franchise
             term, use any written instrument, agreement, release, assignment,
             novation, estoppel, or waiver, to attempt to nullify or modify any
             provision of this Chapter, or to require any controversy between a
             dealer and a manufacturer to be referred to any person or entity other
             than the commission, or duly constituted courts of this state or the
             United States, if such referral would be binding upon the dealer. Such
             instruments are null and void, unless done in connection with a
             settlement agreement to resolve a matter pending a commission
             hearing or pending litigation.

             (vi) To waive the right to a jury trial.




                                         Add.7
Case: 23-30480    Document: 58    Page: 87    Date Filed: 10/12/2023




    (vii) To participate in an advertising group or to participate monetarily
    in an advertising campaign or contest or to purchase any promotional
    materials, showroom, or other display decorations or materials at the
    expense of such motor vehicle dealer or specialty dealer.

    (viii) To adhere to performance standards that are not applied
    uniformly to other similarly situated motor vehicle dealers or specialty
    dealers. Any such performance standards shall be fair, reasonable,
    equitable, and based on accurate information. If dealership
    performance standards are based on a survey, the manufacturer,
    converter, distributor, wholesaler, distributor branch, or factory
    branch shall establish the objectivity of the survey process and
    provide this information to any motor vehicle dealer or specialty
    vehicle dealer of the same line make covered by the survey request.
    Each response to a survey used by a manufacturer in preparing an
    evaluation or performance-rating of a motor vehicle dealer shall be
    made available to that motor vehicle dealer, or it cannot be used by
    the manufacturer. However, if a customer requests that the
    manufacturer or distributor not disclose the consumer's identity to the
    dealer, the manufacturer may withhold the consumer's identity in
    providing the survey response to the dealer, and the manufacturer may
    use the response. Any survey used must have the following
    characteristics:

          (aa) It was designed by experts.

          (bb) The proper universe was examined.

          (cc) A representative sample was chosen.

          (dd) The data was accurately reported.

    (ix) To release, convey, or otherwise provide customer information, if
    to do so is unlawful or if the customer objects in writing. This does
    not include information that is necessary for the manufacturer to meet
    its obligations to the dealer or consumers in regard to contractual
    responsibilities, vehicle recalls, or other requirements imposed by
    state or federal law. The manufacturer is further prohibited from
    providing any consumer information received from the dealer to any
    unaffiliated third party.



                              Add.8
 Case: 23-30480      Document: 58     Page: 88    Date Filed: 10/12/2023




      (x) To pay the attorney fees of the manufacturer or distributor related
      to hearings and appeals brought under this Chapter.

(b) To refuse to deliver to any licensee having a franchise or contractual
arrangement for the retail sale of vehicles sold or distributed by such
manufacturer, distributor, wholesaler, distributor branch or factory branch,
any motor vehicle, publicly advertised for immediate delivery, within sixty
days after such dealer's order shall have been received.

(c) To threaten to cancel any franchise or any contractual agreement existing
between such manufacturer, distributor, wholesaler, distributor branch or
factory branch and said dealer for any reason including but not limited to
failure to meet performance standards.

(d) To unfairly, without just cause and due regard to the equities of such
dealer, cancel the franchise of any licensee. Failure to meet performance
standards based on a survey of sales penetration in a regional, national,
territorial, or other geographic area shall not be the sole cause for
cancellation of a franchise. The nonrenewal of a franchise or selling
agreement with such dealer or his successor without just provocation or
cause, or the refusal to approve a qualified transferee or qualified successor
to the dealer-operator as provided for in the franchise or selling agreement,
or solely for failure to meet performance standards based on a survey of
sales penetration in a regional, national, territorial, or other geographic area,
shall be deemed an evasion of this Paragraph and shall constitute an unfair
cancellation, regardless of the terms or provisions of such franchise or
selling agreement. However, at least ninety-days notice shall be given to the
dealer of any cancellation or nonrenewal of a franchise except for a
cancellation arising out of the financial default of the motor vehicle dealer or
fraudulent activity of the dealer principal which results in the conviction of a
crime punishable by imprisonment. The provisions of this Subsection
relating to performance standards shall not apply to recreational products
dealers.

(e) To refuse to extend to a licensee the privilege of determining the mode or
manner of available transportation facility that such dealer desires to be used
or employed in making deliveries of vehicles to him or it.




                                 Add.9
 Case: 23-30480     Document: 58     Page: 89    Date Filed: 10/12/2023




(f) To resort to or use any false or misleading advertisement in connection
with his business as such manufacturer of motor vehicles, distributor,
wholesaler, distributor branch or factory branch, or officer, agent, or other
representative thereof.

(g) To delay, refuse, or fail to deliver motor vehicles in reasonable quantities
relative to the licensee's facilities and sales potential in the relevant market
area. This Subparagraph shall not be valid, however, if such failure is caused
by acts or causes beyond the control of the manufacturer, distributor, or
other such party.

(h) To ship or sell motor vehicles or recreational products to a licensee prior
to the licensee having been granted a license by the commission to sell such
vehicles.

(i) To unreasonably withhold consent to the sale, transfer, or exchange of the
franchise to a qualified transferee capable of being licensed as a dealer in
this state, provided the transferee meets the criteria generally applied by the
manufacturer in approving new dealers and agrees to be bound by all the
terms and conditions of the standard franchises.

(j) To fail to respond in writing to a written request for consent as specified
in Subparagraph (i) of this Paragraph within sixty days of receipt of a written
request on the forms, if any, generally utilized by the manufacturer or
distributor for such purposes and containing the information required
therein. Failure to respond shall be deemed to be consent to the request.

(k)

      (i) To sell or offer to sell a new or unused motor vehicle directly to a
      consumer except when any one of the following conditions is met:

             (aa) Operating an existing, licensed, and franchised motor
             vehicle dealership for a reasonable period, not to exceed two
             years.

             (bb) Operating an existing, licensed, and franchised motor
             vehicle dealership which is for sale to any qualified
             independent person at a fair and reasonable price, not to exceed
             two years.




                                Add.10
 Case: 23-30480     Document: 58      Page: 90    Date Filed: 10/12/2023




            (cc) Operating in a bona fide relationship in which a person
            independent of a manufacturer has made a significant
            investment subject to loss in the dealership, and can reasonably
            expect to acquire full ownership of such dealership on
            reasonable terms and conditions.

      (ii) After any of the conditions have been met under Subitems (aa) and
      (bb) of Item (i) of this Subparagraph, the commission may allow the
      manufacturer to continue operating an existing, licensed, and
      franchised motor vehicle dealership for longer than two years when,
      in the discretion of the commission, the best interest of the
      manufacturer, consuming public, and licensees are best served.

(l)

      (i) To condition the renewal or extension of a franchise on a dealer's
      substantial renovation of a facility or premises, if the renovation
      would be unreasonable under the circumstances.

      (ii) To require, coerce, or attempt to coerce a dealer or successor
      dealer to construct or substantially alter a facility or premises, if the
      construction or alteration would be unreasonable under the
      circumstances.

      (iii) To require, coerce, or attempt to coerce a dealer or successor
      dealer to construct or substantially alter a facility or premises, if the
      same area of the facility or premises has been constructed or
      substantially altered within the last ten years and the construction or
      alteration was required and approved by the manufacturer as a part of
      a facility upgrade program, standard, or policy. The provisions of this
      Subparagraph shall not apply to any construction, alteration, or
      improvement made to comply with any state or federal health or
      safety law, a manufacturer's or distributor's health or safety
      requirement, or to accommodate the technology requirements
      necessary to sell or to service a motor vehicle. For the purposes of this
      Subparagraph, “substantially alter” means to perform an alteration
      that substantially impacts the architectural features, characteristics, or
      integrity of a structure or lot. The term shall not include routine
      maintenance reasonably necessary to maintain a dealership in
      attractive condition or any item directly protected by federal
      intellectual property rights of the manufacturer.


                                 Add.11
Case: 23-30480    Document: 58     Page: 91    Date Filed: 10/12/2023




          (aa) If a facility upgrade program, standard, or policy under
          which the dealer completed a facility construction or substantial
          alteration does not contain a specific time period during which
          the manufacturer or distributor shall provide payments or
          benefits to a participating dealer, the manufacturer or distributor
          shall not deny the participating dealer any payment or benefit
          under the terms of the program, standard, or policy as it existed
          when the dealer began to perform under the program, standard,
          or policy for the balance of the ten-year period, regardless of
          whether the manufacturer's or distributor's program, standard,
          or policy has been changed or canceled, unless the
          manufacturer and dealer agree, in writing, to the change in
          payment or benefit.

          (bb) As part of any facility upgrade program, standard, or
          policy, the manufacturer or distributor shall agree, in writing, to
          supply the dealer with an adequate supply and marketable
          model mix of motor vehicles to meet the sales levels necessary
          to support the increased overhead incurred by the dealer by
          reason of the facility construction or substantial alteration.

    (iv) To require, coerce, or attempt to coerce a dealer to purchase
    facility construction or maintenance goods or services for items not
    trademarked or otherwise directly protected by federal intellectual
    property rights of the manufacturer from a vendor that is selected,
    identified, or designated by a manufacturer, distributor, affiliate, or
    captive finance source when the dealer may obtain facility
    construction or maintenance goods or services for items not
    trademarked or otherwise directly protected by federal intellectual
    property rights of the manufacturer of the same quality, material, and
    design from a vendor selected by the dealer, provided the dealer
    obtains prior approval from the manufacturer, distributor, or affiliate,
    for the use of the dealer's selected vendor. The approval by the
    manufacturer, distributor, or affiliate shall not be unreasonably
    withheld.




                              Add.12
 Case: 23-30480    Document: 58     Page: 92    Date Filed: 10/12/2023




            (aa) If the manufacturer, distributor, or affiliate does not
            approve the vendor chosen by the dealer and claims the vendor
            cannot supply facility construction or maintenance goods or
            services for items not trademarked or otherwise directly
            protected by federal intellectual property rights of the
            manufacturer that are the same quality, material, and design, the
            dealer may file a protest with the commission.

            (bb) If a protest is filed, the commission shall promptly inform
            the manufacturer, distributor, affiliate, or captive finance source
            that a protest has been filed. The commission shall conduct a
            hearing on the merits of the protest within ninety days
            following the filing of a response to the protest. The
            manufacturer, distributor, or affiliate shall bear the burden of
            proving that the facility construction or maintenance goods or
            services for items not trademarked or otherwise directly
            protected by federal intellectual property rights of the
            manufacturer chosen by the dealer are not of the same quality,
            material, or design to those required by the manufacturer,
            distributor, or affiliate.

            (cc) For the purposes of this Subparagraph, “goods” shall
            include signs or sign components to be purchased or leased by
            the dealer that are not trademarked or otherwise directly
            protected by the federal intellectual property rights of the
            manufacturer or distributor. The term shall not include
            moveable displays, brochures, and promotional materials
            containing material subject to the intellectual property rights of
            a manufacturer or distributor, special tools as reasonably
            required by the manufacturer, or parts to be used in repairs
            under warranty or recall obligations of a manufacturer or
            distributor.

(m) To fail to compensate its dealers for the work and services they are
required to perform in connection with the dealer's delivery and preparation
obligations according to the terms of compensation. The commission shall
find the compensation to be reasonable or the manufacturer shall remedy any
deficiencies.




                               Add.13
 Case: 23-30480      Document: 58     Page: 93     Date Filed: 10/12/2023




(n) To fail to designate and provide to the commission in writing either the
community or territory assigned to a licensee. The provisions of this
Subparagraph shall not apply to trailers.

(o) To fail or refuse to sell or offer to sell to all motor vehicle franchisees in
a line make, every motor vehicle sold or offered for sale under a franchise to
any motor vehicle franchisee of the same-line make, or to unreasonably
require a motor vehicle dealer to pay an extra fee, purchase unreasonable
advertising displays or any other materials, or to remodel, renovate, or
recondition its existing facilities as a prerequisite to receiving a certain
model or series of vehicles. However, the failure to deliver any such motor
vehicle shall not be considered a violation of this Section if the failure is due
to a lack of manufacturing capacity or to a strike or labor difficulty, a
shortage of materials, a freight embargo or other cause of which the
franchisor has no control. This Subparagraph shall not apply to recreational
product manufacturers.

(p) To unreasonably discriminate among competing, similarly situated,
same-line make dealers in the sales of vehicles, in the availability of such
vehicles, in the terms of incentive programs or sales promotion plans, or in
other similar programs.

(q) To terminate, cancel, or refuse to continue any franchise agreement
based upon the fact that the motor vehicle dealer owns, has an investment in,
participates in the management, or holds a franchise agreement for the sale
or service of another make or line of new motor vehicles at a different
dealership location, or intends to or has established another make or line of
new motor vehicles in the same dealership facilities of the manufacturer or
distributor.

(r) To demand compliance with facilities requirements that include any
requirements that a motor vehicle dealer establish or maintain exclusive
office, parts, service or body shop facilities, unless the requirements would
be reasonable and justified by business considerations. The burden of
proving that the requirements are reasonable and justified by business
considerations is on the manufacturer. If the franchise agreement of the
manufacturer or distributor requires the approval of the manufacturer or
distributor for facility uses or modifications, the manufacturer or distributor
shall approve or disapprove such a request in writing within sixty days of
receipt of such request.



                                 Add.14
 Case: 23-30480      Document: 58     Page: 94    Date Filed: 10/12/2023




(s) To use any subsidiary, affiliate, or any other controlled person or entity,
or to employ the services of a third party, to accomplish what would
otherwise be illegal conduct under this Chapter on the part of the
manufacturer or distributor.

(t)

      (i) To operate a satellite warranty and repair center, to authorize a
      person to perform warranty repairs, including emergency repairs, who
      is not a motor vehicle dealer, fleet owner, or an emergency services
      company or emergency services related company, or to authorize a
      motor vehicle dealer to operate a satellite warranty and repair center
      within the community or territory of a same-line or make motor
      vehicle dealer. This Subparagraph shall not apply to recreational
      product manufacturers. For the purposes of this Subparagraph, “fleet
      owner” means a person, including a governmental entity, who is
      approved and authorized by a manufacturer to perform warranty
      repairs and owns or leases vehicles for its own use or a renting or
      leasing company that rents, maintains, or leases vehicles to a third
      party. For the purposes of this Subparagraph, “emergency services
      company or emergency services related company” means a person
      who operates any vehicle designated and authorized to respond to an
      emergency. An emergency vehicle includes but is not limited to police
      and security vehicles, fire and rescue vehicles, medical vehicles, and
      civil emergency vehicles, including public utility crews dealing with
      gas, electricity, or water, or the repair of defective equipment on a
      scene.

      (ii) The manufacturer may authorize a fleet owner to perform
      warranty repairs if the manufacturer determines that the fleet owner
      has the same basic level of requirements for special tools, technician
      certification, and training that are required of a franchise dealer but
      only those as determined by the manufacturer, in its sole discretion,
      that are necessary to perform the specified limited type of warranty
      repairs on the makes and models of motor vehicles for which the fleet
      owner is authorized to perform warranty repairs.

      (iii) A manufacturer who authorizes a fleet owner to perform warranty
      repairs shall give notification of the authorization to the dealer located
      in the same area of responsibility where the fleet owner intends to
      perform the authorized warranty repairs.

                                 Add.15
 Case: 23-30480     Document: 58      Page: 95    Date Filed: 10/12/2023




      (iv) The provisions of Items (ii) and (iii) of this Subparagraph shall
      not apply to manufacturers who authorize fleet owners whose
      commercial vehicles are used for the movement of property, freight,
      or goods in intrastate or interstate commerce.

      (v) The commission has no authority over a fleet owner or an
      emergency services company or emergency services related company
      with respect to the requirements of this Subparagraph.

      (vi) A repair facility of a fleet owner authorized pursuant to this
      Subparagraph to perform warranty repairs shall not be deemed a
      satellite warranty and repair center as defined in R.S. 32:1252 and
      shall not be required to be licensed by the commission pursuant to
      R.S. 32:1254.

(u) To make a change in the area of responsibility described in the franchise
agreement or sales and service agreement of a dealer, without the franchisor,
converter, or manufacturer giving said dealer and the commission no less
than sixty days prior written notice by certified or registered mail.

(v) To attempt to induce or coerce, or to induce or coerce, any motor vehicle
dealer to enter into any agreement with such manufacturer, distributor,
wholesaler, distributor branch or factory branch or representative thereof, or
to do any other act unfair to said dealer.

(w)

      (i) To coerce or attempt to coerce any retail motor vehicle dealer or
      prospective retail motor vehicle dealer to offer to sell or sell any
      extended service contract or extended maintenance plan or gap
      product offered, sold, backed by, or sponsored by the manufacturer or
      distributor or affiliate or sell, assign, or transfer any retail installment
      sales contract or lease obtained by the dealer in connection with the
      sale or lease by him of motor vehicles manufactured or sold by the
      manufacturer or distributor, to a specified finance company or class of
      finance companies, leasing company or class of leasing companies, or
      to any other specified persons by any of the following:

             (aa) By any statement, promise, or threat that the manufacturer
             or distributor will in any manner benefit or injure the dealer,
             whether the statement, suggestion, threat, or promise is express
             or implied or made directly or indirectly.

                                 Add.16
 Case: 23-30480     Document: 58     Page: 96    Date Filed: 10/12/2023




             (bb) By any act that will benefit or injure the dealer.

             (cc) By any contract, or any express or implied offer of
             contract, made directly or indirectly to the dealer, for handling
             the motor vehicle on the condition that the dealer shall offer to
             sell or sell any extended service contract or extended
             maintenance plan offered, sold, backed by, or sponsored by the
             manufacturer or distributor or that the dealer sell, assign, or
             transfer his retail installment sales contract on or lease of the
             vehicle, to a specified finance company or class of finance
             companies, leasing company or class of leasing companies, or
             to any other specified person.

             (dd) Any such statements, threats, promises, acts, contracts, or
             offers of contracts, when their effect may be to lessen or
             eliminate competition.

      (ii) Nothing contained in this Subparagraph shall prohibit a
      manufacturer or distributor from offering or providing incentive
      benefits or bonus programs to a retail motor vehicle dealer or
      prospective retail motor vehicle dealer who makes the voluntary
      decision to offer to sell or sell any extended service contract or
      extended maintenance plan offered, sold, backed, or sponsored by the
      manufacturer or distributor or to sell, assign, or transfer any retail
      installment sale or lease by him of motor vehicles manufactured or
      sold by the manufacturer or distributor to a specified finance company
      or leasing company.

(x) To charge back, deny vehicle allocation, withhold payments, or take any
other adverse actions against a motor vehicle dealer because of a sale of a
new motor vehicle that is exported from the United States, unless it is shown
that the dealer knew or reasonably should have known on the date of the sale
that the new motor vehicle was to be exported. A motor vehicle dealer shall
be rebuttably presumed to have no knowledge of the export if the motor
vehicle is sold by the dealer to a resident of the United States who titles and
registers the motor vehicle in any state within the United States.

(y) To disqualify a manufacturer's sales or service satisfaction survey that
pertains to a dealership employee's personal motor vehicle or specialty
vehicle solely because it was mailed or communicated electronically from a
dealership.


                                Add.17
          Case: 23-30480   Document: 58    Page: 97     Date Filed: 10/12/2023




                           CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of October, 2023, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of Appeals

for the Fifth Circuit using the appellate CM/ECF system. Counsel for all parties to

the case are registered CM/ECF users and will be served by the appellate CM/ECF

system.




                                                /s/ Ari Holtzblatt
                                                ARI HOLTZBLATT
